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                           UNITED STATES D ISTR ICT CO URT
                           SOU TH ERN DISTRICT O F FLORIDA
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                                                       Case No: 17-80871-CIV-       l                                     '''''I
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    UNITED STATES OF A M ERICA ,                                                    i                                            ?
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    STATE OF FLORJDA ,and ex rel.                                                           ''i
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          Plaintiffs,
                                                        Filed U nder SealPursuant31 U .S.C.
                                                        3730(b)(2)DoNotPlaceInPressBoxor
                                                        Enter on Publicly A ccessible System
    HABANA H OSPITAL PHA RM ACY ,
    lNC.,a Florida corporation;
    LONGEV ITY ,LLC,a Florida Lim ited
    Liability Com pany;FOREST H ILL
    PHA RM A CY ,LLC,Florida Lim ited
    Liability Com pany;THE PHA RM A CY
    GRID ,LLC,a Florida Lim ited Liability
    Com pany;and G&K PHARM ACY,LLC,
    a Verm ontLim ited Liability Com pany,

          Defendants.



                             FALSE CLAIM S A CT COM PLAINT
                              A ND DEM A ND FO R JURY TRIAL


          Relator,BEATRIZ MORALES(hereinafterlllkelator'')bringsthisactiononbehalfofthe
    United States of A m erica, the State of Florida against Defendants, HA BAN A HO SPITA L

    PHA RM A CY ,INC., a Florida corporation; LON GEVITY DRUG S, LLC, a Florida Lim ited

    Liability Com pany;FOREST HILL PHA RM ACY, LLC, Florida Lim ited Liability Com pany;

    THE PHARM A CY GRID,LLC,a Florida Lim ited Liability Com pany;and G&K PHARM ACY,




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    LLC,     Vermont Limited Liability Company, (hereinafter collectively referred to as
    ûr efendants'')and allegesbased upon theirown directand independentknowledge,asfollows:

                                     1.     ALLEGA TION S

    1. This is an action to recover dam ages and civil penalties on behalf the United States of

       A m erica,arising from false and/orfraudulentrecords,statem ents,and claim s made,used and

       caused to be m ade, used, or presented by D efendants and/or their agents, predecessors,

       successors,andemployeesinviolationoftheundertheFalseClaimsAct,31U.S.C.jj3729-
       3733,andunderthecommon1aw theoriesofunjustenrichmentandpaymentbymistake.

    2. AsrequiredbytheFalseClaimsAct,31U.S.C.j3730(b)(2),beforethefilingofthisaction,
       the Relatorhasprovided to theAttorney Generalofthe U nited Statesand to the United States

       A ttorney forthe Southern D istrictofFlorida,a disclosure statem entofal1m aterialevidence

       and inform ation related to the com plaint. The disclosure statem entis supported by material

       evidence known to the Relators to establish the existence of Defendants' false claim s.

       Because the disclosure statementincludes attorney-clientcom m unications and work-product

       of Relators' attorney,and is subm itted to the Attorney General and to the United States

       Attorney in their capacity as potentialco-counselin the litigation,the Relator understands

       thisdisclosureto be confidential.

    3. This action seeks dam ages and civilpenalties in connection with a schem e entered into by

       theDefendantsthatresulted in thefederalgovernmentpaying over$17 millionto Defendants
       for false or fraudulent prescriptions subm itted by D efendants to M edicare,M edicaid,and

       Tricare (hereinafter Itgovernmenthealthcare programs'') for prescriptions thatwere:(a.)
       invalid ;(b)ifprovided,wasnotmedically necessary;or(c)wasaffectedbykickback and


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       other unlawfulfinancialarrangem ents,fraudulentsignatures ofphysicians and pharm acists,

       and altered docum ents.

    4. The facts and circum stances alleged hereinafter involve a deceitfuland system atic schem e

       whichresultedinthefleecingofgovernmenthealthcareprograms,by(a)submittingrequests
       forpaym entto governm enthealthcare program s withoutthe presence ofa valid prescription'
                                                                                               ,

       (b)allowingindividualsthatarenotlicensedasphannacistsorphysicianstounlawfullyalter
       prescription formulas;(c)allowing individualsnotlicensed asapharmaciststo knowingly
       writecompoundprescriptionsforagainststatelaw;(d) allowing and encouragingunlawful
       transactionsto continue by pharm techs,such asrefilling prescriptionsw ithouta prescription

       (fraudulentorvalid)andre-writingformulaswithoutknowledgeofthephysiciansorlicensed
       pharmacist'
                 ,(e)encouraging pharmacists to re-write compound prescriptionsto identify a
       prescription thatw ould be covered by governm enthealthcare program sdespitethe expiration

       of multiple Collaborative Pharm acist Agreem ents or lack of any valid Collaborative

       PharmacistAgreementauthorizinga changein theprescription or;(g)unlawfullywaiving
       co-paysforprescriptionspaidto governmenthealthcareprograms;(9 submittingclaimsfor
       paymentm ultiple tim es under false prescriptions num bers to identify a form ula/prescription

       thatwouldbepaid by thegovernmenthealthcareprograms'insurance;and(g)effectingby
       kickback and other unlawful financial arrangements, and fraudulent prescriptions not

       approved orwritten by pharm acists.

                                      I1.    TH E PA RTIES

    5. Relator,Beatriz M orales,is a residentofHillsborough County,Florida,with a hom e address

        of3411 W estLouisiana Avenue,Tam pa,FL 33614.




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        Relator is a duly licensed pharm acistunderthe laws ofFlorida with 40 years ofexperience

       within the field ofpharm acy,and has been a licensed phannacistin the State ofFlorida since

       1991 (License No.P525891). Additionally,Relator has been a licensed Healthcare Risk
       Manager,(LicenseNo.5504219)since 2009 which involvesassessing the risk to patient
       safety,andhasalsobeenaConsultantPharmacist(LicenseN0.PS5614)since2002.

    7. Relator was employed by the Defendant,Habana H ospitalPharm acy,as the Pharm acist in

       Charge atHabana HospitalPhanuacy,lnc.,from A ugust 15,20l5 to M arch 15,2016.

    8. Relator brings this action based cm herdirectknow ledge and also on inform ation and belief

       and experience w ith varioustypes of illegalactions and activities ofD efendants concerning

       prescription re-writing,subm ission of claim s for paym ent w ith no valid prescriptions,re-

       writing ofprescriptions forcontrolled and non-controlled com pounds,waiverofrequired co-

       pays by federalregulation,at least one occurrence of a kickback schem e with a physician,

       failure of Defendants to provide requests for paym ents to the governm ent healthcare
       program satthe best price,and Defendants'practice in transferring prescriptionsofpatients

       covered by Tricare to otherpharmacies owned and operated by the sam e principalmanagers

       and officers of the Defendants after Habana Hospital Pharm acy, lnc. was no longer

       authorized to processTricare prescriptions.N one ofthe actionable allegationssetforth in this

       Complaint are based on public disclosure as set forth in 31 U.S.C. j3730(e)(4).
       N otwithstanding the sam e,Relator is an originalsource ofthe factsalleged in thisCom plaint.

    9. At alltim es relevant hereto,Defendants acted through their agents and em ployees and the

       acts of Defendants' agents and em ployees were w ithin the scope of their agency and

       employm ent.The policies and practices alleged in this com plaint were,on inform ation and

       belief,setorratified atthe highestcorporate and m anagem entlevels ofDefendants.


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    10.Defendant,HABANA HOSPITAL PHARMACY,INC.(Hereinafter(Cl-labana'')isaFlorida
       corporation form ed on February 23,1970.Habana maintainsitsprincipalplace ofbusinessat

       4710 N .Habana Ave,Suite 101, Tam pa,FL 33614.The principal owners of Habana are

       Steven R.M edendorp,Terrence M yers,Clayton Hum m el,and Ryan Goodkin.Habana w as

       incorporated to provide compound pharm acy servicesto citizens in Florida,and has engaged

       inthatbusinesssinceatleast1970.(See,Exhibit26).

    11.Defendant,LONGEVITY,LLC,(Hereinafter çtongevity'') is a Florida limited liability
       com pany form ed on February 5,2015.Longevity m aintains itsprincipalplace ofbusiness at

       l0l N .FederalHighway,Lake W orth,FL 33460.The principalm anagers ofLongevity are

       Ryan Goodkin and Terrence M yers. Longevity w as incorporated to provide com pound

       phannacy servicesto citizens in Florida,and hasengaged in thatbusiness since atleast2015.

       Id.

    l2.Defendant,FOREST HILL PHARMACY,LLC,(Hereinafter ûûForestHi1l'')is a Florida
       lim ited liability com pany form ed on August 17,20l5. Forest Hillm aintains its principal

       place ofbusiness at2939 ForestHillBoulevard,W estPalm Beach,FL 33406.The principal

       m anagers of Forest H ill are Ryan Goodkin and Terrence M yers, Jr. Forest Hill w as

       incorporated to provide compound pharm acy servicesto citizens in Florida,and has engaged

       in thatbusinesssince atleast20l5. Id.

    13.Defendant,THE PHARMACY GRID,LLC,(Hereinafter çûpharmacy Grid'') is a Florida
       lim ited liability com pany form ed on June 3, 2015.Pharm acy Grid m aintains its principal

       place of business at 120 N . Federal Highway, Suite 306,Lake W orth, FL 33460. The

       principalm anagers of The Pharm acy Grid,LLC are John D. W iley, Ryan Goodkin,and




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       Terrence M yers, Jr. Pharm acy Grid w as incorporated to provide perform m anagem ent

       servicesto citizens in Florida,and hasengaged in thatbusiness since atleast2015.Id.

    14.Defendant,G&K PHARMACY,LLC (HereinafterûûG&K'')isa Vermontlimited liability
       company formed on N ovem ber 22,2015.G& K m aintains its principalplace ofbusiness at

       468 Broadway,A llentown,PA 18104.The principalmanagers ofG&K are DanielLansm an,

       Ryan G oodkin, Santo Leo, and Terrence M yers. G &K was incorporated to provide

       compound pharm acy services to citizens in Florida and V erm ont,and has engaged in that

       businesssinceatleast2015.Id.


                             111.      JU RISDICTION A ND VENUE

    15.ThisCourthassubjectmatterjurisdictionoverthisactionpursuanttotheFalseClaimsAct,


    l6.ThisCourthaspersonaljurisdictionoverDefendantspursuantto31U.S.C.j3732(a)because
       Defendants own and operate a business in this district and/or has engaged in actionable

       conductw ithin this district.

    17.Venueisproperinthisdistrictpursuantto 28U.S.C.j3732(a)and 28U.S.C.jjl391(b)(1)
       and(2).

    18.Thisaction arises underthe False Claim sAct,the A nti-K ickback Statute,and the Stark Law.

       ThisCourthasjurisdictionoverthiscasepursuantto28U.S.C.j 1331;28U.S.C.j 1345;
       and31U.S.C.j3732(a).

    19.VenueisproperinthisDistrictpursuantto 31U.S.C.j37324a)becausetheactsproscribed
       by 3l U.S.C.j 3729 and complained of herein took place at a business located in the
       Southern DistrictofFlorida,and isalso properpursuantto 28 U.S.C.j 1391(b)and (c)
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       because atallrelevanttim esDefendants operated theirbusinessesin the Southern D istrictof

       Florida.


                             1V.     STA TU TE OF LIM ITA TION S

    20.The claim s in this m atter relate back to the Gling of the quitam com plaint and are tim ely

       under31U.S.C.j3731(b)(l).

                                    V.    A PPLICA BLE LA W

       A. THE FA LSE CLA IM S AC T

    21.TheFalseClaimsActmakessubjectto Iegalaction any personwho knowingly presentsor
       causes to be presented false or fraudulent claim s for paym ent or approval to the United

       States.31U.S.C.j3729(a)(1)(throughMay l9,2009),j3729(a)(l)(A)(afterM ay l9,2009,
       seesection4 oftheFraud EnforcementandRecovery Actof2009,Pub.L.111-21).

    22.TheFalseClaimsActalso makessubjecttosuitanypersonwhoknowinglymakes,uses,or
       causes to be m ade or used,a false record orstatem entm aterialto a false orfraudulentclaim .

       31U.S.C.j3729(a)(1)(B).
    23.The term çsknow ingly'' under the False Claim s A ct m eans that a person, with respect to

       information,(i)hasactualknowledgeoftheinformation,(ii)actsindeliberate ignoranceof
       thetruthorfalsity oftheinfonnation,(iii)actsinrecklessdisregardofthetruthorfalsityof
       theinformation.31U.S.C.j3729(b)(l).Noproofofspecificintenttodefraud isrequiredto
       show apersonactedknowinglyundertheAct.31U.S.C.j3729(b).
    24.The False Claim s Act provides for recovery of three tim es the dam ages sustained by the

       United States(Citrebledamages'')plusa civilpenalty foreach falseclaim presented orcaused



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       to be presented. Thispenalty isto be notlessthan $5,500 and notmore than $11,000.31

       U.S.C.j3729(a),asamended by the FederalCivilPenalties lnflation AdjustmentActof
       1990,andtheDebtCollectionImprovementActof1996,see28U.S.C.j2461(notes),and
       64Fed.Reg.47099,47103(1999).
    25.Federallaw prohibitsknowingly presenting orcausing to be presented a false orfraudulent

       claim for paym entfrom the United States Governm ent.ltis unlawfulto conspire to defraud

       the Governm entby getting a falseorfraudulentclaim allowed orpaid.

    26.TheAct,atj3729,providesinpertinentpartthat:

                 (a)    Any person who (1)knowingly presents,orcausesto be
                 presented to an officer or em ployee of the United States
                 Governm entora mem berofthe Arm ed Forcesofthe United States
                 afalseorfraudulentclaim forpaymentorapproval'
                                                             ,(2)knowingly
                 m akes, uses, or causes to be m ade or used, a false record or
                 statem entto geta false orfraudulentclaim paid orapproved by the
                 Government;(3)conspirestodefraudtheGovernmentbygettinga
                 false or fraudulentclaim paid orapproved by the Governm ent;...
                 or(4)knowinglymakes,uses,orcausestobemadeorused,afalse
                 record or statem entto conceal,avoid,or decrease an obligation to
                 pay ortransm itm oney orproperty to the Governm ent,...is liable
                 to the United StatesGovernm entfora civilpenalty ofnotlessthan
                 $5,500 and not more than $11,000, plus 3 times am ount of
                 dam ageswhich the Governm entsustains because ofthe actofthat
                 Person ...
                 (b) For purposes of this section,the terms (dknowing''and
                 tdknowingly''meanthatapersonwithoutrespecttoinformation (l)
                 had actualknowledge ofthe information;(2) acts in deliberate
                 ignoranceofthetruth orfalsit'y ofthe information;or(3)actsin
                 reckless disregard ofthe truth orfalsity ofthe information,and no
                 proofofspecificintenttodefraudisrequired.31U.S.C.53729.
    27.On M ay 20,2009,Congressenacted the Fraud Enforcementand Recovery Act(C$FEItA''),
       which amended 31 U.S.C.j 3729(a)(1)and (a)(2),which became j 3729(a)(l)(A) and
       (a)(l)(B), respectively. After the FERA amendments, j 3729(a)(1) currently provides
       liability forany person who:


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                  know ingly presents,orcausesto bepresented,a false orfraudulent
                  claim for paym entor approval',know ingly m akes,uses,or causes
                  to be m ade orused,a false record or statem entm aterialto a false
                  or fraudulent claim ', conspires to com m it a violation of
               subparagraph(A),(B),(D),(E),(F),or(G);j3729(a)(1).
    28.UndertheFERA amendments,liability underj 3729(a)(l)(A)or(C)appliesto allconduct
       by the Defendants that occurred afterthe date of the FERA enactm ent,M ay 20,2009.For

       liability forfalse claimsunderj 3729(a)(l)(B),FERA providesthatthisprovision applies
       retroactively to a11false claim sm ade by Defendantsw hich were pending on orafterthe date

       ofJune 7,2008.

           THE ANTI-KICKBACK STATUTE,42 U.S.C.1320A-7B(B)

    29.The kickback prohibition applies to all sources of referrals, even patients. For exam ple,

       where the M edicare and M edicaid program s require patientsto pay copaysforservices,you

       are generally required to collect that m oney from your patients.Routinely w aiving these

       copays could im plicate the Anti-K ickback Statute,and you m ay not advertise thatyou will

       forgive copaym ents.H ow ever,you are free to waive a copaym entifyou m ake an individual

       determ ination thatthe patient cannot afford to pay or if your reasonable collection efforts

       fail.

    30.Any paym ents to a pharm acy that is a M edicare Pal4 D entity underthe M edicare Part D

       program are conditioned on a certification by the pharm acy, and the Pharm acy Benefits

       M anagerand Plan D Sponsorcontracting with the pharm acy,thatithasnotpaid kickbacks to

       a physician or any other person to obtain patient referrals to the pharm acy to process the

       physicians'prescriptions. Any hom e health agency bills to M edicare that are infected by

       such kickbacksare false and therefore actionable underthe False Claim sAct. See 42 U.S.C.

       jl320a-7b(g)(incorporating False Claims Actamendmentclarifying thatE1a claim that


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        includes item s or services resulting from a violation of this section constitutes a false or

        fraudulentclaim forpurposesof(theFalseClaimsAct).'')

    31.Allindividuals and entities enrolling in M edicare m ust certify thatthey are aw are that any

        paymentto them isconditioned upon the claim scom plying with theA nti-Kickback Statute.

    32.TheA nti-Kickback Statuteprohibitsany person orentity from offering,m aking,oraccepting

        anything ofvalue to induce or rew ard any person for referring,recom m ending,or arranging

        forthe purchase ofany item forwhich paym entm ay be m ade in w hole orin pal4by a federal

        health care program . lt sim ilarly prohibits any person or entity from soliciting anything of

        value forsuch referrals.

    33.The prohibition on kickbacks is based on evidence thatproviding things of value to those

        who can intluence healthcare decisionsw illcorruptprofessionalhealthcare decision-m aking

        and result in federalfunds being diverted to pay for goods and services that are m edically

        unnecessary,ofpoorquality,and/orharm ful.

     34.The Anti-K ickback statute prohibitsthe paym entofrem uneration by a phanmacy orM edicare

        PartD entity to a physician,orem ployee,thathas,as one ofits purposes,inducem entofthe

        physician's referrals of individuals to the pharmacy orinducem entofprescriptions or drugs

        by the physician thatindividualshave a need forprescriptions.

     35.The prohibition on kickbacks is based on evidence thatproviding things of value to those

        who can intluence healthcare decision w illcorrupt professionalhealthcare decision-m aking

        and result in federalfunds being diverted to pay for goods and services thatare medically

        unnecessary,ofpoorquality,and/orharm ful.




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       C. THE STA RK LA W

    36.The Stark Law prohibitspharm aciesfrom subm itting M edicare claim sthatare the productof

       patient referrals from physicians with whom an agency has an im perm issible financial

       relationship.42U.S.C.j1395,see42 U.S.C.jj1395(h)(6)(1)(applying 1aw tohomehealth
       clainas).
    37.A financialrelationship thatisim pennissible isdefined as a fscom pensation arrangem entf'.42

       U.S.C.j1395(a)(l)& (2).
    38.A Cdcom pensation arrangem ent''is defined asEûany arrangem ent involving any rem uneration

       betweenaphysician ...andanentity.''42U.S.C.j1395(h)(1)(A).

    39.lfan impermissible financialrelationship exists,then (;(A)thephysician may notmakea
       referralto theentity forthefurnishing ofdesignatedhealth services...and (B) theentity
       m ay notpresentorcause to be presented a claim ...for designated health services furnished

       pursuanttoareferralprohibitedundersubparagraph(A).''42U.S.C.j1395(a)(1).

    40.Congress enacted the Stark Law because it fotlnd that financial relationships between

       physicians and entitics to which they refer patients would com prom ise the physicians'

       professionaljudgmentastowhetheranitem orserviceismedicallynecessary,safe,effective,
       and of good quality. Congress relied upon academ ic studies show ing thatphysicians who

       had financialrelationships w ith entities to w hich they referred used m ore of those entities'

       services than sim ilarly situated physicians w ho did nothave such relationships. The Stark

        Law was designed to protect the taxpayer from paying for the costs of questionable

        utilization ofservices by rem oving m onetary intluenceson referraldecisions.
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    41.Com pounding has been defined by the United States Suprem e Court as:$1...a process by

       which a pharm acist or doctor com bines,m ixes,or alters ingredients to create a m edication

       tailored to the needsof an individualpatient.''Thompson v. Western States M edicalCenter,

       535U.S.357,361(2002).

    42.The Stark Law requires thatthe M edicare program deny paym entforclaim s forany services

       billed in violation ofitsprovisions. 42 U.S.C.jl395nn(g). ln addition,itrequiresthat
       providerswho have collected M edicarepaym entsfora healthcare service ûkperform ed undera

       prohibitedreferralmustrefunda1lcollectedamountsonatimelybasis.''42C.F.R.j4ll.353.

    43.A1lindividuals and entities enrolling in M edicare m ust certify thatthey are aw are thatany

       paymentto them isconditioned upon the claim sbeing in compliancew ith the Stark Law.

    zl4.A llclaim s forpaymentsubm itted knowingly thatare infected by violationsofthe Stark Law

       are actionable underthe False Claim sAct.

       D. M EDICARE PROGRAM REOUIREM ENTSAND LEGAL BACKGROUND

       M EDICAR E PRO G RAM

    45.The M edicare Program is the federalhealth insurance program forthe aged and disabled,42

       U.S.C.jl395,and isadministered by theCentersforMedicareand Medicaid Services,a
       componentofthe U .S.Departmentof Health and H um an Services. lndividualswho receive

       M edicare benefks are referred to asM edicare ûtbeneficiaries.''

    46.Federallaw requires ''any health care practitioner ...who provides health care services for

       which paym entm ay be m ade ...to assure,to the extent of his authority that services or

       item sordered orprovided by such practitioner ...be provided econom ically and only w hen,




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       andtotheextent,medicallynecessary.42 U.S.C.j1320c-5(a)(1).Thequality ofsuch care
       must''meetprofessionallyrecognizedstandardsofhealthcare.''42U.S.C.j1320c-5(a)(2).

    47.''gclompliancewith federalhealth carelaws...isacondition ofpaymentbytheMedicare
       program .'' M cNuttex rel.United States v.HaleyvilleM edicalSupplies,lnc.,423 F.3d 1256,

       1259(11thCir.2005).

    48.Claim s subm itted to the M edicare and M edicaid program s for care, which do not m eet

       professionally recognized standards ofhealth care,are false and fraudulentclaim s underthe

       False Claims Act. See United States ex rel.Aranda v.Community Psychiatric Centers of

       Oklahoma, Inc., 945 F.supp. 1485, 1488 (W .D. Okla. 1996); United States v.NEC
       HealthcareCorp.,1l5F.Supp.zd 1149,1156(W .D.M0.2000).

    49.''Submittingaclaim gundertheM edicareorMedicaidprogramslunderthefalsepretenseof
       entitlem entis fraudulent'' United States cx rel.Kneepkins v.Gambro H ealthcare,lnc.,l15

       F.Supp.2d35,43(D.Mass.2000).

    50.M edicare has four prim ary com ponents: Part A--hospital insurance; Part B m edical

       insurance;Pal'tC- M edicare A dvantagem anaged care;and Pal4 D- prescription drugs.

    51.Only individuals and entities that have signed the required certifications concerning

       compliance with the requirem ents ofthe M edicare program ,and are thereafter approved for

       participation,are assigned billing numbers and permitted to billMedicare (these billing
       num bersare known as Ssprovider ldentification Num bers,''(CCM S Certification N um bers''or

       EGOSCAR numbers'').
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    52.W hen such an individualor entity renders a service,it subm its a claim for reim bursem ent

        that includes the individual or entity's billing num ber, the identification num ber for the

        patient(knownasa$$H1CN'')andacodefortheservicerendered.

    53.Personsand entitiesm ay subm itclaim sto M edicare only forservicesthey actually rendered,

        which m ustbe m edically necessary,and they m ustm aintain the m edicalrecords show ing that

        theyrenderedtheserviceandthattheservicewasmedicallyjustified.

        M EDICA QE PA RT D

    54.The M edicare PartD Program provides beneficiaries with assistance in paying forout-patient

        prescription drugs.This vastout-patientprescription drug benefitwas added to M edicare by

        theMedicare Prescription Drug,lmprovement,and Modernization Actof2003,(t(MMA''),
        Pub.L.108-173(Dec.8,2003),42U.S.C.j1395w-101etseq.(2004supplement),42C.F.R.

        j423.506.
    55.The M M A providesthatM edicare beneficiaries entitled to M edicare benefitsunderPal4 A or

        enrolled in PartB are eligible for M edicare Drug benefits underPartD.Section l86013-2 of

        the SocialSecurity Act,42 U .S.C.1395w-102,provides for out-patientprescription drugsto

        be provided to M edicare beneficiaries to be called dçM edicare PartD ''benefits which began

        in January 2006.

     56.lf a drug,as prescribed and dispensed or adm inistered to an individual,is covered forthat

        individualunder M edicare PartA or PartB,then the drug is not covered under PartD .42

        U.S.C.jl396w-102(e)(2)(B),Section 1860D-2(e)(2)(B)oftheSocialSecurityAct.18

     57. The M M A also created a subsidy availableto certain em ployer,union,and othergroup Plans

        thatprovide retiree coverage to PartD eligible individualsthatis atleastequivalentto PartD
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        coverage (the Ssretiree drug subsidy').Section 186017-22 ofthe SocialSecurity Act,42
        U.S.C.j 1395w-132.Thus,the Federalgovernmentpaysa PartD retirementsubsidy to
        em ployers whose Plans provide prescription drug benefits sim ilar to PartD Plans for their

        retired em ployees.

    58.Unlike coverage in M edicare Parts A and B,Pal4 D coverage is not provided w ithin the

        traditional M edicare program .lnstead,M edicare beneficiaries m ust affirm atively enroll in

        one ofm any hundreds of Pa14 D Plans offered by private com panies such as the Carem ark

        Defendants.See,M M A,Sections l102, l86017-1 through 18609-42,and 1871 ofthe Social

        SecurityAct;42U.S.C.jj1302,1395w-101through 1395w-152,and l3951+.

    59.A MedicarePal4D Plan Sponsor(''PartD Sponsor''),whetheritbeaPartD Plan(PDP),ora
        M edicare Advantage Prescription Drug Plan (M A-PD), is an entity that is certified as
        m eeting the requirem entsofPartD and thatcontracted w ith CM S to provide Pal'tD benefits.

        Section 1860D-41,42 U.S.C.j l395w-151(a)(13)and (14)(B).Theterm ''PartD Sponsor''
        also includes em ployer and union-sponsored plans which offerqualified Pal4 D prescription

        coverage.42C.F.R.j423.504419.CM S isauthorizedtodeny anapplicationtoqualify asa
        PartD Sponsorbased on the applicant'sfailure to com ply with the tennsofa previousyear's

        contractw ith CM S,even ifthe applicantis currently m eeting allofthe requirem entsforPart

        D participation.42C.F.R.423.503(b).

        ENTITIES O PER ATING IN TH E M EDICA RE PA RT D SYSTEM

               1. PartD Sponsor
     60.The PartD Plan Sponsor m ustalso agree to comply w ith the requirem ents and standards of

        PartD and al1thetermsand conditionsofpayment.Section l8609-12,42 U.S.C.j 1395w-

        112(b)(l).
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    61.The contractbetween the PartD Plan Sponsorand CM S m ustinclude the elem ents listed in

       42C.F.R.j423.505(1$,includingcompliancewiththereportingrequirementsassetforth in
       j 423.514 and therequirementssetforth in j 423.329(b)forsubmitting drug claimsand
       related infonnation to CM S for itsuse in risk adjustmentcalculations.The PartD Plan
       Sponsorm ustalso expressly agree to provide CM S w ith the inform ation CM S detennines is

       necessarytocarryoutpaymentprovisions.42C.F.R.j423.505(t948)and(9).

    62.A Part D Plan Sponsor, in contracting w ith CM S,also expressly ççagrees to comply w ith

       Federallaw s and regulations designed to preventfraud,w aste,and abuse,including,butnot

       limited to,applicableprovisionsofFederalcriminallaw (andlthe False ClaimsAct(32
       U.S.C.jj3729etseq.).''42C.F.R.423.505(h)(1).

    63.To qualify forPartD paym entsfrom CM S,before each plan year,each approved PartD Plan

       Sponsor m ust subm ita bid,certified by an actuary, for each Part D Plan it willoffer.42

       C.F.R.j423.265.Thebid containsapermemberpermonth (VEPMPM'')costestimate to
       provide PartD benefits to an average M edicare beneficiary in a particulargeographic area.

       CM S considers both the tiered form ulary structure and utilization m anagem ent program

       componentsofthePartD PlanSponsor'sbid.42C.F.R.j423.2724$(2).From thosePartD
       Plan bids,CM S calculates nationw ide and regionalbenchm arks which representan average

       PM PM cost.lfthe Pal4 D Plan Sponsor'sbid exceedsthe benchm ark,the Plan M em ber m ust

       pay the difference.

    64.Once approved,the Pal'tD Plan Sponsor m ay m arket its Plans to eligible M edicare PartD

       beneficiaries,butCM S setsrestrictionsonm arketing andenrollment.42 C.F.R.j423.50.

    65.During each benefit year, CM S pays the PartD Plan Sponsors estim ated paym ents on a

       m onthly basis.In turn,Pal4 D Plan Sponsorsprovide CM S w ith docum entation oftheiractual


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       costs.One required m ethod for PartD Plan Sponsors to provide actualcost inform ation to

       CMS isbysubmittingaPrescriptionDrugEvent($TDE'')recordforeveryprescriptionthat
       is filled fora Plan M em ber.

    66.Once enrolled,each Pa14 D Plan participantpays a m onthly prem ium to the PartD Plan,as

       determinedunderthePartD Regulations.42C.F.R.jj423.153and423.293.

    67.In the yearfollowing each benefityear,CM S reconcilesa PD P Sponsor's actualprescription

       drug costs as derived from its PDE records against the Sponsor's bid.lf a PD P sponsor's

       actualcostsexceed the estim ated costs,the Sponsorm ay be able to recoup som e ofitslosses

       through a risk-sharing arrangem ent w ith CM S. Conversely, if a Part D Plan Sponsor's

       estim ated costs exceed its actual costs,the Sponsor may have to pay back som e of its

       estim ated paym entsto CM S.

    68.Thus,CM S pays the PartD Sponsor underM edicare Pal4 D .The Pal4 D Sponsorthen pays

       thePal4D Plan pharm aciesforprescriptions,lesstheM edicare beneficiary'sco-pay.

    69.The Pa14 D Sponsor isrequired to m ake severalsignificantand m aterialexpress certifications

       to CM S regarding itssubm ission ofPartD data used forpaym ent:

                  l.Certification ofD ata thatD eterm ines Paym ent:ûûA.
                                                                       s a condition
                  forreceiving a m onthly payment...the PartD Plan sponsoragrees
                  that its chief executive officer (CEO), chief financial officer
                  (CFO),oranindividualdelegatedtheauthorit' ytosignonbehalfof
                  one ofthese officers,and who reports directly to the officer,must
                  request paym ent under the contract on a document that certifies
                  (based on bestknowledge,information,and belieg the accuracy,
                  com pleteness,and truthfulness ofa1ldata related to paym ent.The
                  data m ay include specified enrollm ent information, claim s data,
                  bid subm ission data,and otherdata thatCM S specifies.''42 C.F.R.
                  j423.505(k)(l).
                  2. Certification of Enrollm ent and Paym ent Infonnation: tt-f'
                                                                                he
                  CEO, CFO, or an individual delegated the authority to sign on
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                  behalf of one of these officers, and who reports directly to the
                  officer,mtistcertify (based on bestknowledge,information,and
                  belieg thateach enrolleeforwhom theorganization isrequesting
                  paym ent is validly enrolled in a program offered by the
                  organization and the inform ation CM S relies on in determ ining
                  paym entis accurate,com plete,and truthfuland acknow ledge that
                  this inform ation willbe used forthe purposesofobtaining Federal
                  reimbursement.''42C.F.R.j423.505(14(2).
                  3.Pal'tD Sponsor Certification ofClaim s Data:(l-f'  he CEO,CFO,
                  or an individual delegated w ith the authority to sign on behalf of
                  one of these officers,and w ho reports directly to the oftk er,m ust
                  certify (basedonbestknowledge,information,andbelieg thatthe
                  claims data it submits under j 423.329(b)(3) (or for fallback
                  entities,underj 423.871(9)are accurate,complete,and truthful
                 and acknow ledge thatthe claim s data willbe used forthe purpose
                 ofobtainingFederalreimbursement.''42C.F.R.j423.505(k)(3).
                 4.Certification ofBid Subm ission lnformation.The CEO,CFO,or
                 an individualdelegated the authority to sign on behalf of one of
                 these officers,and who reports directly to the officer,m ustcertify
                 (based on best knowledge, information, and belietl that the
                 inform ation in its bid subm ission and assum ptions related to
                 projected reinsurance and low income costsharing subsidies is
                 accurate, com plete, and truthful and fully conform s to the
                 requirementsin j423.265.''See,42C.F.R.j423.505(11)(4).
    70.The Pal't D Sponsor is required to expressly certify to the accuracy and com pleteness of

       allow able costs for risk corridor and reinsurance inform ation and of data for price

       comparisonthatitsubmitstoCM S.42C.F.R.j423.505414(5)and(6).

    71.Particularly relevanthere,the entity subm itting the PartD paymentdata,the Pa14 D Sponsor

       or PBM , m ust also m ake express certifications to CM S regarding Part D data used for

       paym ent.The Federalregulations provide thatthe entity subm itting PartD claim sdata,the

       PartD Sponsororthe PBM ,m ustexecute thefollow ing certification:

                 Ifthe claim s data are generated by a related entity,contractor,or
                 subcontractor of a PartD plan sponsor,the entity,contractor,or
                 subcontractor must similarly certify (based on best knowledge,
                 information, and belieg the accuracy, completeness, and


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                  truthfulness ofthe data and acknow ledge thatthe claim s data will
                  be used forthepurposesofobtaining Federalreim bursem ent.''

           42C.F.R.j423.505(10(3),(emphasisadded).
              2. FirstTier.D ow nstream and related entities- Pharm acies

    72.TheregulationsgoverningPa14D benefitsdefinemajorentitieswithwhich aPal4D Sponsor
       may contract.42C.F.R.j423.505(9.Seealso CM S PrescriptionDrug ManualChapter9-
       PartD Program to ControlFraud,W aste and A buse,40 - PartD SponsorAccountability and

       oversight,p.12.CM S hasdescribed these entitiesas ûûpharm aciesorotherproviders,related

       entities,contractors,subcontractors,firsttierand downstream entities.''

    73.A GûFirst Tier Entity'' is a pal4y w ith whom the Part D Sponsor has a written contract

       ddacceptable to CM S with a Sponsororapplicantto provide adm inistrative servicesorhealth

       careservicesforaM edicareeligibleindividualunderPartD.''42C.F.R.#423.501.
    74.ln m ost cases,the diFirst Tier Entity''w ill be a pharm acy benefits manager, PBM . CM S

       Prescription Drug M anualChapter 9 - Pal4 D Program to ControlFraud,W aste and Abuse,

       40 - PartD SponsorAccountability and oversight,p.12.

    75.A (O ownstream Entity''isany entity with a written contractwith the PartD Sponsorûtbelow

       thelevelofthearrangementbetweenaSponsorandafirst-tierentity.''42 C.F.R.j423.501.
       Downstream entities include the ultim ate service providers of health and adm inistrative

       services,i.e.,pharmacies and furtherdownstream below the pharm acy,the pharm acist.CM S

       Prescription Drug M anualChapter9 -PartD Program to ControlFraud,W aste and Abuse,

       40 - PartD SponsorAccountability and oversight,p.l2.

    76.By way of sim ple illustration,the PartD Sponsor enters into a contractw ith a pharm acy

       benefitmanager(PBM),andthePBM wouldbeconsideredtheFirstTierEntity. ThePBM
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       then contractswith assortedpharmacies(here,theHabanaDefendantsand otherpharmacy
       Defendants)toprovidethedispensing services.ThepharmaciesareDownstream Entities.If
       the pharm acies then contractw ith pharm acists,the pharm acists would also be Downstream

       Entities. CM S Prescription Drug M anual Chapter 9 - Part D Program to Control Fraud,

       W aste and Abuse,40 - Pal4 D SponsorAccountability and oversight,p.12.

    77.Again,ifa downstream entity,such asa pharm acy,contracts with a Plan D SponsororPBM

       to provide Plan D services,thatentity m ustalso m aking the follow ing acknow ledgm entand

       certification:

                  If the claim s data are generated by a related entity,contractor,or
                  subcontractor of a PartD plan sponsor,the entity,contractor,or
                  subcontractor must similarly cel
                                                 -tify (based on best knowledge,
                  information, and belietl the accuracy, completeness, and
                  truthfulness ofthe data and acknowledge thatthe claim s data w ill
                  be used forthepurposesofobtaining Federalreim bursem ent.''

                  42 C.F.R.j423.505(k)(3),(emphasisadded).

    78.A Related Part D entity is tûan entity that is related to the Pa14 D Sponsor by com mon

       ownership orcontroland eitherperform ssom e ofthe Sponsor'sm anagem entfunctionsunder

       contract or delegation, furnishes services to M edicare enrollees under oral or written

       agreements, or certain lease arrangements w ith the Sponsor.This includes, for exam ple,

       wherea Sponsoristhe parentcompany ofitsown in-housePBM.''42 C.F.R.j423.501;
       CM S Prescription Drug M anual Chapter 9- PartD Program to ControlFraud, W aste and

       Abuse,40 - PartD SponsorA ccountability and oversight,p.13.

       SUM M ARY O F TH E PA RT D PR O CESS -A DJUDICATING PRESCR IPTIO NS

    79.M ost M edicare beneficiaries who elect Part D coverage are responsible for certain costs,

       which m ay include a m onthly prem ium ,an annualdeductible,and/orco-pays.


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    80.After receiving a prescription from his or herdoctor,the PartD Plan beneficiary goes to a

        retailpharmacy,or in the presentcase,a com pound pharm acy,and presents the prescription

       to the pharm acist,subm its a prescription to a m ailorder pharm acy,or in som e cases,asw ith

        the current case, the physician sends a compound prescription directly to a compound

       pharm acy.

    81.Afterthe com pound pharm acy receivesthe prescription and beneficiaries' inform ation,and

        then subm its required data elem ents to the Plan or its PBM to confirm M edicare PartD

        enrollm ent and identify co-pays.This typically takes place via real-tim e data translnissions

        between the pharm acy and the PBM .In the D efendantpharm acies this action was alm ost

        alwaysperform ed by apharm acy technician.

    82.Atthisstageintheadjudicationprocess,thepharmacymustalsoperform pharmacyservices,
        as required by state law .For example,in Florida,pharm acy services include verifying the

        prescription being prepared,perform ing checks for allergic reactions and drug interactions,

        and retaining the prescription on file which identifiesthe prescriber.

     83.W here the PartD Plan Sponsor uses a PBM ,the PBM review s the pharm acy's initialdata

        subm ission to conductpre-dispensing/point-of-sale reviews of the Pal4 D claim as required

        by Federallaw and regulationsand pursuantto the contractbetween the Plan Sponsorand the

        PBM .

     84.Ifthe claim forthe prescription is notrejected by the Sponsor orPBM,the pharmacy
        receivespaym entauthorization and co-pay inform ation and dispenses the prescription to the

        Part D beneficiary. The beneficiary pays the co-pay to the pharm acy and receives the

        prescription.Atthe tim e ofthe initialdata subm ission,the pharm acy transm its to the Plan

        Sponsor orPBM certain data elem ents specified by contractbetween the pharm acy and the
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        Plan Sponsor or PBM . These data elem ents would include, am ong other things, the

        beneficiary inform ation,prescriberinfonnation,and drug information.

     85.Once the PBM or Plan receives that data from the pharm acy,the PBM or Plan Sponsor

        submitsthe claim datato CM S via a Prescription Drug Event(EûPDE'')record.The PartD
        Plan or its PBM is required to also subm it other data to CM S,i.e.,enrollm ent inform ation,

        bid subm ission data,costs for risk corridor and reinsurance inform ation,and data for price

        comparison.42C.F.R.423.505(k).

     86.PartD Sponsors are also required to subm it other inform ation to CM S regarding costs of

        providing PartD coverage,i.e.,adm inistrative costs,rebates,and otherinform ation.

        CM S PAR T D PA YM ENTS BASED ON PDE CLM M S D ATA SUBM ITTED TO
        CMS - IMPACT (iF THE FALSE AND FRAUDULENT PRESCRIPTIONS
        FRO M TH E PH ARM AC Y ON TH E CM S PA RT D PAYM EN TS

    87.Sections1860D-l5(c)(l)(C)and (d)(2)oftheM MA requireSponsorsto submitdataand
        inform ation necessary for CM S to carry out paym ent provisions. For every prescription

        filled,the PartD SponsororitsPBM prepares and subm itsa PD E record to CM S.

    88.The PDE record containsprescription drug costand paym entdata thatenables CM S to m ake

        paym entsto Plansand otherw ise adm inisterthe PartD benefit.

    89.Sections 18609 -14 and 15 of the M M A provide that CM S pay Plans for Pal4 D benefits

        through subsidiesand risk sharing.

    90.CM S paysa directsubsidy (a capitated payment)to the PartD Plan (PDP)in theform of
        advance monthly paymentsequalto the PartD Plan'sstandardized bid,risk adjusted for
        health status as provided in j 423.329(1$, m inus a monthly beneficiary premium as




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       determinedin j423.286.42C.F.R.j423.315(19.lnotherwords,CM Spaysamonthly sum
       to the PartD Plan Sponsorforeach Pa1
                                          4 D beneficiary enrolled in the Plan.

    91.ln addition to the directsubsidy,through low-incom e subsidies,CM S m akespaym ents to the

       Part D Plan for prem ium and cost sharing subsidies on behalf of certain subsidy eligible

       individualsasprovidedin j423.780andj423.782.Thesetypesofpremium andcostsharing
       subsidies for qualifying low -incom e individuals are called ''Low-lncom e Cost Sharing

       Subsidies''(LICS),andaredocumented andreconciled usingPDE datasubmitted to CM S.
       CM S ltu pdated lnstructions:Requirem ents for Subm itting Prescription D rug Event Data

       (PDE),''4.27.2006,page41,Section10.1.lntheUnitedStatesTerritories,CM Sissuesgrants
       in lieu ofLICS.

    92.Through retroactive adjustments and reconciliations,CMS also reconcilespayment year
       disbursem ents w ith updated enrollm ent and health status data, actual low-incom e cost-

       sharingcostsand actualallowablereinsurancecostsasprovidedinj423.343.See42C.F.R.
       j423.315(9.lnotherwords,CM SreconcilespaymentsreceivedbyPartD Plansattheend
       oftheyearto determ ine whetheradditionalfundsare due to orfrom the PartD Plan Sponsor.

    93.Forprivatefee-for-serviceplans(asdefinedby j422.4(a)(3))thatofferqualifiedprescription
       drug coverage,CM S determ inesthe am ountof reinsurance paym ents to be m ade to them as

       providedunder#423.3294c)43).See42C.F.R.j423.315(1 .
    94.Thus,throughoutthe year,CM S m akes prospective paym ents to PartD Sponsors for three

       subsidiesbased on the Sponsors'approved bids:(l)the directsubsidy (amonthly capitated
       payment)designedtocovertheSponsor'scostofprovidingthebenefits;(2)the1ow income
       cost-sharing subsidy (the Federalgovernment'sportion ofcost-sharing paymentforcertain
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       low-incomebeneficiaries);and(3)thereinsurance subsidy (theFederalgovernment'sshare
       ofdrugcostsforbeneficiarieswhohavereachedçatastrophiccoverage).

       REOUIRED DATA ELEM ENTS FOR PDE RECORDS

    95.On April 27, 2006, CM S issued tdupdated lnstructions: Requirem ents for Subm itting

       Prescription Drug EventData (PDE)'',in which CMS identified a setof data elements,
       Prescription Drug Event (EGPDE'') data,which are necessary to determine payments to
       M edicare PartD PDP Sponsors.The Pa14 D Plan m ust subm it a PDE record for each and

       every dispensing event.ççupdated lnstructions: Requirem ents for Subm itting Prescription

       DrugEventData(PDE),''4.27.2006,page9.

    96.The PDE record isasummary record thatdocumentsthefinaladjudication ofdispensing
       event by a PBM based upon claim s received from pharm acies (lupdated lnstructions:

       RequirementsforSubmittingPrescriptionDrug EventData(PDE),4.27.2006,page9.

    97.There are 37 setdata elem ents in the required data setfor al1PDE records:15 elem ents for

       theNationalCouncilforPrescription Drug Program (''
                                                        NCPDP'')billing transaction,5 data
       elem ents for the N CPDP billing response transaction,and 17 data elem ents identified by

       CM S for purposes of adm inistering Pal4 D . dsupdated lnstructions: Requirem ents for

       SubmittingPrescription DrugEventData(PDE),''4.27.2006,page 9.

    98.M ost of the M edicare Part D PD E data elem ents are the same elem ents developed by the

       N CPDP,which have been used fordecadesby PBM S,pharm acies,and otherproviders when

       subm itting M edicare and M edicaid claim s for prescription drugs to CM S forpaym ent.ln its

       tslnstructions for Subm itting Prescription Drug Event Data,''dated 4/27/2006,atpage l1,

       CM S stated: Etslost data elements represent existing NCPDP fields where we employ the




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        sam e definition and field values that are currently in use per the N CPDP version 5.l drug

        claim standard.''NCPDP version 5.1wasapproved in Septem berof 1999.

    99.W hen CM S identified CûData Elem ents for PDE Records,''it clearly stated,and al1parties

        were on notice,that subm ission of PDE data is an express condition of paym ent:lçln this

        section, we list the required data elem ents that m ust be subm itted on PDE records for

        payment...This Section defines each data elem entand its specific potentialuse for CM S'S

        paym ent process.''CM S ltupdated lnstructions:Requirem ents for Subm itting Prescription

        DrugEventData(PDE),''4.27.2006,page11,Sec.2.

     100. CM S furtherdescribed the purpose ofthe various PD E data elem ents as follow s:tsM uch

        ofthe data,especially dollar fields,w illbe used prim arily for paym ent.How ever,som e of

        the other data elem ents such as pharm acy and prescriber identifiers w ill be used for

        validation of the claim s as wellas for other legislated functions such as quality m onitoring,

        program integrity,and oversight.''CM S ûlupdated lnstructions:Requirem ents for Subm itting

        PrescriptionDrugEventData(PDE),''4.27.2006,pages5-6,Section 1.4.

     10l. CM S provided that the reporting Csrequirem ents apply to all Pal4 D Plans.'' ûtupdated

        lnstructions:RequirementsforSubmittingPrescriptionDrugEventData(PDE),''4.27.2006,
        page 5.Thus,CM S data reporting requirem ents and instructions apply to a11PartD Plans

        (PDPs),MedicareAdvantagePartPlans(MA-PDS),and any otherentity providingPartD
        benefits.

        PA RT D CLA IM S CER TIFICATIO N O F TR UTH AND A CCUR ACY

     102. Sponsors and their subcontractors,i.e.,PBM S,or dow nstream entities like pharm acies,

        when subm itting Pal4 D PDE data to CM S,mustcertify thatal1claim s are true and accurate.



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       CM S Prescription Drug Benefit M anual, Chapter 9 - Part D Program to Control Fraud,

       W aste,andAbuse,Section80.1,p.67,citing42C.F.R.j423.505(14(3).

    103. Thus,CM S'S Regulationsforthe subm ission ofPartD PD E data place the legalrisk of

       subm itting invalid Part D claim s data squarely w ith the subm itting or generating entity:

       (ICM S requiresthatany entity thatgenerateslpal'tDJclaimsdataon behalfofaSponsor''
       mustboth:éscertify to CM S the accuracy,com pleteness,and truthfulness of thatdatai''and

       lûacknow ledge thatthe data willbe used forpurposes ofobtaining Federalreim bursem ent.''

       See C'Prescription D rug Benefit M anual, Chapter 9 - PartD Program to Control Fraud,

       Waste,and Abuse,''page l6,Section 40-2,
                                             .citing 42 C.F.R.j 423.505(14(3))(emphasis
       added).

    104. ln keeping with therequirementsof42 C.F.R.j423.505(14(3)and CM S Prescription
       Drug Benefit M anual,Chapter 9 - Part D Program to Control Fraud,W aste,and A buse,

       Section 80.1,p.67,Sponsors and their subcontractors who subm itPartD PDE data to CM S

       m ustcertify thatitistrue and accurate.

    105. Since January 2006,this express certification ofPal4 D PDE data has been included in

       CMS'SElectronic Data lnterchange (EDl)Agreement(ora similardocument).The EDI
       Agreem ent m ust be executed in order for an eligible organization to subm it PDE data

       electronically to CM S.The ED Iis executed by M edicare Plans offering PartD prescription

       drug benefit and/or the PartD PM BS who subm it PDE data on behalf of PartD Sponsors.

       Thecertification on the PartD ED1Agreementcontainsthefollowing (orsimilar)language:
       ççBy signing below, the eligible organization certifies that each subm ission of PDE data

       pursuantto thisA greem entw illbe accurate and com plete to the eligible organization's best

       know ledge,information and belief.''


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    106. D efendants,PBM S and PartD Sponsors have m ade such explicit certifications of PDE

        data from the establishm ent of D efendants' business entities to the present based on

        Defendants subm issions of prescriptions for paym ent, and they continue to make these

        certificationson an ongoing basisto the Governm ent.

            CM S also requires,through the EDl Agreement,thatthe PartD Sponsorboth:Clensure

        that every electronic entry can be readily associated and identified w ith an originalsource

        document(e.g.,an originaldrug claim) ...,''and (lretain a11originalsourcedocumentation
        pertaining to any such particularM edicare prescription drug eventfora period ofatleast10

        yearsaftertheprescription drug eventisreceived and processed.''

     108. The çtoriginal source document'' for a drug claim results from a pharm acy's valid

        prescription which is used as the basis for processing a claim for paym ent to a PBM or

        Sponsor. Thus,ifa valid prescription is notreceived and processed fora particularM edicare

        drug event,the originalclaim cannotbe linked to an originalsource docum ent.

     109. CM S recognizesthatthe subm ission ofûûinaccurate orincom plete prescription drug event

        (PDE) data''constitutes Pal4 D fraud,waste,or abuse.CMS Prescription Drug Benefit
        M anual,Chapter9 - PartD Program to ControlFraud,W aste,and Abuse,''page 56.

     110. M oreover,in addition to being legally obligated to subm itand certify accurate PDE data

        in the first instance, Part D Sponsors are also explicitly required to correct a11previously

        subm itted PDE data if the data was enoneous when initially subm itted.CM S 2007 PartD

        Reporting Requirem entspage 4.

            PartD Sponsors are required to m ake PDE data subm issions to CM S atthe end of the

        coverageyear(ornolaterthan5monthsafterthecloseoftheyear)includingPDE records,
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       adjustments,and deletions.See,42 C.F.R.j 423.308.PartD Sponsorsalso submitcost
       reportsattheend oftheyear.42C.F.R.j423.343.For2006,however,CM Scollected cost
       data on LICS via PDE records instead of costreports.Giupdated lnstructions:Requirem ents

       forSubmittingPrescriptionDrugEventData(PDE),''4.27.2006,page10.

       PIIARM AC IES SUBM IT PR ESCRIBER ID N UM BER S TO TH EIR SPO N SO R S
       OR PBM S TO REPORT TO CM S

    l12. PDE data elem ents thatidentify the prescriberare contained in fields 12 and 13 of the

       electronicPDE record.Field 12containstheitprescriberID Qualifier,''thefield thatindicates
       the typeofidentifierused in thePrescriberID field.Field 13 containsthe PrescriberID itself,

       m eaning the prescriber's own unique identification num ber, i.e., DEA number. CM S

       Etupdated lnstructions:RequirementsforSubmittingPrescription DrugEventData(PDE),''
       4.27.2006,page13,Section2(emphasisadded).

    113. CM S noted the following regarding the required PD E data on physician identification

       num bers:SCCM S requiresuse ofa D EA num ber wheneverituniquely identifiesthe prescriber

       and is allow ed by state law.ln other cases,the prescriber's state license num berorUnique

       Provider Identification Number (UPlN#) shall be used.'' CM S Gtupdated lnstructions:
       RequirementsforSubmitting Prescription Drug EventData (PDE),''4.27.2006,page 12,
       Section 2(emphasisadded).

          Thus, Pal4 D Sponsors or their PBM S m ust report Pal't D claim s data that ''uniquely

       identifies'
                 'the prescriber, either through a DEA num ber, or the prescriber's State license

       number,orthrough his unique Provider Identification Number (ûûUPlN''),when reporting
       PDE data.




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    115. The vastmajority ofPartD claims submitted to CM S originate from electronic data
       transm itted by the pharm acy, such as the Defendants in the current action, to the Plan

       SponsororPBM atthepointofsale(POS). ThePOS attheDefendantpharmaciesoccurs
       when the Pal4 D beneficiary is at the pharm acy counter or when a fax order is being

       processed aherreceiptatany ofthe Defendantcom pound and retailphannacies.

       PH ARM ACIES SUBM IT NDC CO DES TO SPO NSOR S OR TH EIR PBM S TO
       SUBM IT TO CM S

    116. The PDE data elem ents that identify the dispensed drug are contained in Field l5,

       llproduct/service 1D ,''which identifies the dispensed drug using an 1l-digitND C num ber.

       Sûupdated lnstructions:RequirementsforSubmittingPrescription Drug EventData(PDE),''
       4.27.2006,page l3,Section 2.

           Again.The basis forthe dispensed drug event,w hich is included in the PDE,originates

        with the claim forcom pensation subm itted by a pharm acy afterreceiptofa prescription.

       PHARM ACIES SUBM J-T DRVG COSTS DATA AO TIV IR PART D SP-
                                                               O NSORS
        OR THEIR PBMSTO SUBMITTO CMj
           W hen PartD Sponsors or their PBM S report PDE data to CM S,these data elem ents

        include the costs associated w ith each dispensing event.CM S uses these PDE data elem ents,

        in part to determ inethecapitated payments(monthly subsidy)paidforeach M edicarePartD
        beneficial
                 'y.42 C.F.R.j423.505(14.ThePal4D SponsororPBM isrequired to submitthe
        costofthe drug actually dispensed to the PartD beneficiary. A gain,the costsoriginate from

        the costofdispensing asreported from the pharm acies in the SponsororPlansnetwork.

     l19. CM S requires accurate reporting by the Pal'
                                                     tD Sponsor or PBM of the follow ing three

        data elem ents from PDE records to determ ine costs that qualify for paym ent under the



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       Medicarebenefit:Field27(lngredientCostPaid),theamountpaidtothepharmacy forthe
       drug itsel: notincludingdispensing feesorothercosts;Field28(DispensingFeePaid),the
       am ountpaid to the pharmacy fordispensing the m edication,including only dçactivitiesrelated

       to the transferofpossession the drug from the pharmacy to the beneficiary,including charges

       associatedwithmixingdrugs,delively,andOverheadasdelineatedinthefinalrulej423.100
       and the pream ble to the rule,w hich fee m ay be negotiated w ith pharm acies atthe plan or

       PBM leveli''Field 29 (SalesTax),al1amountspaid to the pharmacy to coversalestax.
       Cdupdated lnstructions:RequirementsforSubmitting Prescription DrugEventData(PDE),''
       4.27.2006,pages 14-15.

    120. Based upon these three data elem ents, CM S detennines the costs associated w ith each

       prescribing eventthatqualifies forM edicare Pal'
                                                      tD paym ent.N otonly isitmandatory,butit

       iscrucial,thatthe Pal4 D Sponsororsubm itting PBM accurately reportsto CM S theN DC for

       the drug actually dispensed,as the cost the pharmacy paid for the particular drug is based

       upon theND c .

    121. If the PartD Sponsor subm its an ND C to CM S for a drug other than the drug actually

       dispensed,then the data subm itted in the Cost Fields (27 through 29) which is tied to a
       particularND C isfalse.

       PART D REQUIREM ENT FOR DISPENSING                           RCOVERED         DRUGS''
       W OUIREM ENT OF PRESCRIPTION

                 1. Requirem ents ofa Valid Prescription

          PursuanttoSection1860D-2(e)(1)(A)oftheSocialSecurityAct,aSscoveredPartD drug''
       is defined as a drug that is lûdispensed only upon prescription and that is described in

       subparagraph(A)(i),(A)(ii),or(A)(iii)ofsection 1927(k)(2).''42U.S.C.1395w-102(e).


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    123. PartD allows paym entfor any use of a covered Pal4 D drug for a m edically accepted

        indication.j 1395w-102(e)(1)(B).

    124. The term (kcovered outpatient drug'' is defined in Section l927(k)(2)(A)ofthe Social

        Security Act,42 U .S.C. 13961--8,to m ean,çiof those drugs w hich are treated as prescribed

        drugs forpurposes ofsection l905(a)(12) gthe Medicaid statutel,a drug which may be
        dispensed only uponprescription,''exceptasprovided inparagraph (5),and subjectto the
        exceptionsinparagraph(3).Seealso42C.F.R.423.100.

     125. .,
           d valid p?-é'
                       s'c?-f
                            r//on is defined as a prescription that colzzplies w ith al1 applicable State

        law requil
                 -ements constituting a valid prescl-iption. 42 C.F.R.423.100. Thus,a claim for

        com pensation subm itted to CM S withouta valid prescription pursuantto state 1aw isa false

        claim forpaym ent.

     126. ln Florida,a valid written prescription for a m edicinaldrug is one that is issued by a

        health care practitionerlicensed by law to prescribe such a drug,islegibly printed ortyped so

        as to be capable ofbeing understood by the pharm acistfilling the prescripticm ;and contains

        the nam e ofthe prescribing practitioner,the nam e and strength of the drug prescribed,the

        quantity of the drug prescribed, and the directions for use of the drug. Additionally,the

        written prescription m ustbe dated and signed by theprescribing practitioneron the day when

        issued.Fl.Stat.456.42(1).

     127. In Florida,in order for an electronically generated and transm itted prescription to be

        valid,itlsm ustcontain the nam e ofthe prescribing practitioner,the nam e and strength ofthe

        drug prescribed,the quantity of the drug prescribed in num ericalform at,and the directions

        for use ofthe drug. ltm ustbe dated and signed by the prescribing practitioneronly on the
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       day issued,which signature m ay be in an electronic form atasprescribed by state Iaw .

       Stat.456.42(2).

                 2. ddcovered PartD D rua''m ustbe m eetaIIM edicaid Requirem entsand be
                    approved forC overaae by CM S under Sponsor'sPlan

          A lthough M edicare PartD drugs m ustm eetallM edicaid requirem ents,a1ldrugs covered

       underthe M edicaid drug program are notnecessarily covered under Pal4 D .Section 186017-

       2(e)oftheSocialSecurityAct,42U.S.C.1395w-102(e)(2).

          Under M edicare Part D,CM S can pay only for drugs thatboth m eet the definition of

       Sscovered Pal4 D drug''and are approved for coverage under the Sponsor's specific Plan.

       Section 186017 2(e)ofthe SocialSecurity Act.See also 4/26/06 CMS Requirementsfor
       Submitting Prescription D rug EventData,p.20.

    130. A com m on fraud schem e to get around the requirem ents of coverage for a Sponsor's

       specific plan ordûcovered Pal'tD Drug''is the altering of an originalprescription to change

       theprescription so thatitfallsunderthe coverage provided undera Sponsor'sspecific Plan.

    13l. A s such, federal regulations specifically require that each Part D Sponsor have an

       established drug utilization management and quality assurance programs.42 C.F.R.j
       423.l53(a).A drug utilization managementprogram includes iûpolicies and systems to
       preventover-utilization...ofprescribedmedications.''42C.F.R.423.153(b)(2).

          Quality assurance programs include compliance by network pharm acies with State
       pharmacy practice and concurrent Drug Utilization Review (û1DUR''). The purpose of
       concurrent DU R, is to ensure that a review of the prescribed therapy is perform ed before

       each prescription is dispensed to a Pal'tD beneficiary.ConcurrentDU R mustinclude ageand




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       gender contraindications,over-utilization,and incorrectdosage orduration ofdrug therapy.

        42 C.F.R.j423.1531.

               3. PartD Druas- N ationalDru: Codes

           PursuanttoSection l927(k)(3)ofthe SocialSecurity Act,42 U.S.C.1396r-8,theterm
        dscoveredoutpatientdrug''includesonly thosedrugsforwhich aNationalDrug Codenumber

        is required by the Food and Drug A dm inistration, and specifically excludes t;a drug or

        biologicalused fora m edicalindication which isnota m edically accepted indication-''

    134. For obvious safety reasons,FederalRegulations further require drug m anufacturers or

        labelers to assign an expiration date to each pharm aceuticalproduct,which m ustappearon

        thelabel.21C.F.R.201.17.21C.F.R.211.137(a)and(d)(expirationdating).

     135. Thus,the containerreceived by the pharm acistfrom the m anufactureror labelerbearsthe

        NDC,including theexpiration date,asrequired by FederalRegulations.

     l36. Therefore,the Federalgovernm entw illonly pay for drugs under M edicare PartD that

        are identified by N D C number when used for m edically accepted indications, which are

        listed in the labeling approved by the FDA ,or use of which is supported by one ofthe drug

        compendia identified in the Medicaid statute.See,Section 1927(g)(1)(B)(i)ofthe Social
        Security Act.

        PART D REOUIRES COM PLIANCE W ITH ALL APPLICABLE STATE
        PH ARM AC Y LAW S

     137. ln addition to m eeting the M edicaid statute's definition of Eûprescribed drup''covered

        PartD drugs m ustbe dispensed in accordance with State pharm acy law s and regulations.42

        C.F.R.j423.505(i)(4)(iv)(requiringcompliance with Federallaws,Regulations,and CMS
        instructions);42 C.F.R.j 423.504(b)(iv)(A)(requiring compliancewith applicableFederal
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        and statestandards);42 C.F.R.j423.153(c)(1)(Sponsorsmustrepresentthatthatnetwork
        providersarerequiredtocomplywithstatepharmacystandards).

     138. H ere,the D efendants,the netw ork pharm acy providers,asnetwork providersforthe Part

        D Plan Sponsors, were required to com ply with CM S Part D laws and all regulations

        mandating adherence to statepharmacy law s.

     139. States,including Florida,have enacted stringentlaws regulating the practice ofpharmacy

        and the practice ofmedicine to protectpatientsfrom harm resulting from the use ofunsafe or

        inappropriate drugsand from the improperpractice ofm edicine and pharm acy.

     140. Under the Florida State law s, for the patient to receive a prescription drug, a licensed

        health care pl-actitioner who determ ines the appropriate treatm ent,and issues a prescription

        for an FDA -approved drug,m ust exam ine the patient.The prescription m ay also authorize

        refills.

           The patient then has the prescription filled by a registered pharm acist working in a

        licensed pharm acy thatm eetsa11State law requirem ents.

        CM S IDENTIFIES AREAS SUSCEPTIBLE TO                         FM UD BY PAR T D
        STAKEHOJA ERS

            CM S has identified specific risk areas of vulnerability for fraud, waste and abuse by

        specific key.

                   1. PartD Sponsor and PBM Fraud.W aste and A buse
     143. Sponsor and PBM fraud, waste and abuse occurs where the Part D Sponsors fails to

        provide m edically necessary services to Part D enrollees where this failure is likely to

        adversely affect the enrollee.CM S Prescription Drug M anual, Chapter 9, Section 70.l.1,

        pages54-55.

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     1,14. The failure to ensure thatthe drug was prescribed by a licensed professional,the failure

        todenyclaimsforexpiredorobsoletedrugs,andthefailuretorejectclaimsbasedongender
        contraindications are a1lexam ples ofSponsorand PBM fraud,waste and abuse thatadversely

        affectthe enrollee.

     145. Another area of Sponsor and PBM fraud, w aste and abuse includes paym ents for

        excluded drugs in violation of the Sponsor's obligation to ensure that they only provide

        coverageforEdcovered PartD drugs,''under42 C.F.R.j423.100,aslisted intheSponsor's
        approved formularies,and in accordancewith Section 1860D-2(e)(2)ofthe SocialSecurity
        Act.

           ln addition, where a PartD Plan or PBM tim isrepresents or falsifies inform ation it

        furnishesto CM S orto an individualunderthe PartD drug benefitprogram i''and when the

        PBM or''Sponsorsubmitsinaccurate orincompleteprescription drugevent(PDE)dataor
        Pal4 D Plan quarterly data,''these are also exam ples of Sponsorfraud wasteand abuse.CM S

        Prescription Drug M anual,Chapter9,Section 70.1.l,page 56.

           Fraud,waste and abuse by a PartD PBM ,as identified by CM S,includes m ostof the

        sam e exam ples listed for PartD Plans,but also includes failure to offer a beneficiary the

        negotiatedpriceofaPartD drug.CM S Prescription DrugV anual,Chapter9,Section 70.1.2,
        pgs.57-58.

                  2. Fraud,W aste.and A buse bv Dow nstream Entities.such asPharm acies

     148. Examples of phannacy,fraud,w aste,and abuse as identified by CM S include:billing

        practices (billing for non-covered prescriptions as covered items,drug diversion,etc.),
                                                                                              '
        Prescription forging or altering,prescription splitling to receive additionaldispensing fees,




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       bait and switch pricing; dispensing expired or adulterated drugs, and failure to offer

       negotiated process.CM S Prescription DrugsM anual,Chapter9,Section 70.1.3,page 58.

               3. Requirem entsofPartD FirstTier,Downstream ,and related Entities:A ll
                                                                      -      -

                  PartD D ow nstream EntitiesM ustCom plv w ith aIIA pplicableFederaland
                  State Lawsand R eaulations,and CM S lnstructions
    149. A sdescribed above,FederalRegulations require that PartD Sponsorsfollow applicable

        State pharm acy laws.This requirem entalso applies to any firsttier,downstream ,orrelated

       entity under contract to perform any of the PartD Sponsor's activities or responsibilities

        underthe PartD contractwith CM S.42 C.F.R.j 423.505(i)(4)(iv)providesthat4$1fany of
        the Part D Plan Sponsors' activities or responsibilities under its contract with CM S is

        delegated to otherparties,the following requirem entsapply to any related entity,contractor,

        subcontractor,orpharmacy:...galllcontractsorwritten arrangementsmustspecify thatthe
        related entity,contractor,or subcontractor m ust com ply w ith all applicable Federal law s,

        regulations,and CM S instructions.
                                         ''

           FederalRegulations specifically require that PartD Sponsorsestablish quality assurance

        measures and system s that require the Sponsor's network providers slt() com ply with

        minimum standards for pharmacy practice as established by the States.'' 42 C.F.R. j

        423.l53(c)(1).A Ilnetwork''provideris described as a pharmacy where enrollees may be
        expected toobtain covered PartD drugs.See42 C.F.R.j423.128(1$(5)and (6).
     l5l. In addition,FederalRegulations also require thatPartD Sponsorscom ply with State law

        requirements as described in 42 C.F.R. 9 423.505(1$(15) (PartD Sponsors qualification
        understate law asinsurers)and meeta1lapplicable Federaland State standards.42 C.F.R.

        5423.
            504(b)(iv)(A).

        E. FLO RIDA PHA RM ACY STATUTES AND A DM INISTM TIVE CO DE



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    152. The Florida legislature enacted standards ofpractice relating to the practice of pharm acy

       which ûûshallbe binding on every state agency and shallbe applied by such agencies when

       enforcing or implem enting any authority granted by any applicable statute, rule, or

       regulation,w hetherfederalorstate.''Fl.Stat.465.0155.

           The Florida legislature enacted statutesexpressly lim ited the Etpractice ofpharm acy''and

       setting regulations for the practice of kûcom pound pharm acy''to protect consum ers and the

       public.

    154. Compounding tdm eans com bining,m ixing, or altering the ingredients of one or m ore

       drugsorproductstocreateanotherdrugorproduct.Fl.Stat,465.003(18).Theterm Sûspecial
       pharm acy'' includes every location w here m edicinal drugs are com pounded .... Fl. Stat.

       465.003(11)(a)(4).

              1. Practice ofpharm acy can only be perform ed by a pharm acist;and is
                 expressly prohibited from bein: perform ed buta pharm acy technician

           The Sûpractice of the profession of pharmacy'' includes compounding, dispensing, or

       consulting concerning contents,therapeutic values,and uses of m edicinaldrugs;consulting

       concerning therapeutic values,and interactions ofpatentorproprietary preparationswhether

       pursuant to prescriptions or in the absence of prescriptions or orders'
                                                                             , and other

       ç'pharmaceuticalservices''.F1.Stat.465.003(12).

    156. The practice of ûçpharm aceutical services''includes the monitoring of the patient's drug

         therapy and assisting the patientin the managem entofhisorherdrug therapy,and includes

         review of the patient's drug therapy and comm unication with the patient's prescribing

         health careprovider.Fl.Stat.465.003(13).




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    157. Practice ofthe profession of phanmacy also includes any other Vïact, service,operation,

        research, or transaction incidental to, or form ing a part of, any of the foregoing acts,

        requiring, involving, or em ploying the science or artof any branch of the pharm aceutical

        profession,study,ortraining,and shallexpressly perm ita pharm acistto transm itinform ation

        from persons authorized to prescribe m edicinaldrugs to their patients.''Fl. Stat.465.003



     158. û1A person other than a licensed phannacist or pharm acy intern m ay not engage in the

        practice of the profession of pharm acy...''Fla Stat.Title 32,Chapter 465.014.As such,a

        pharmacy technician is included am cm g the individuals prohibited from engaging in the

        practice ofpharm acy.

           Pursuant to the authority delegated in Fl. Stat. 465.0155., the Adm inistrative Code

        expressly prohibits the following acts associated w ith the practice of pharm acy from being

        performed by anyone otherthan a licensed a pharmacistor supervised,registered pharm acy

        intern:(a)supervising thecontrolled substanceinventory,(b)receiving verbalprescriptions
        from a practitioner;(c)interpreting and identifying prescription contents;(d)engaging in
        consultation w ith a practitionerregarding interpretation ofthe prescription and date in patient

        profile;(e)engaging in professionalcomm unication with practitioners,nursesorotherhealth
        professionals'
                     ,(9 advising orconsulting with a patient,both astotheprescription and the
        patientprofilerecord.Admin.Code64B16-27.1001(1)(a-b).

     160. Additionally,only a pharm acistmay make the finalcheck ofthe com pleted prescription.

        AdminCode64B16.27.1001(l)(a-b).




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     161. Likew ise,underFlorida law ,a pharm acistdispensing a prescription drug m ustperform a

        Drug Utilization Review (DUR),including an offerto counselthe patient,before any
        prescriptionisfilledorrefilled.Chapter456FloridaStatutesSection465.00346).

     162. (s-
            l-he pharm acistperform ing in this state any of the acts defined as Sthe practice of the

        profession of pharmacy' in Section 465.003(13),F.S., shallbe actively licensed as a
        pharm acist in this state,regardless of whether the practice occurs in a perm itted location

        (facility)orotherlocation.''Admin.Code64B16.1001(5).
     163. Notably,nothing in the Florida Statute Cçshallbe interpreted to perm itan alteration ofa

        prescriber's directions,the diagnosis or treatm ent of any disease'
                                                                          , initiation of any drug

        therapy;the practice of m edicine;orthe practice of osteopathic m edicine,unless otherwise

        permitted by law.''Fl.Stat.465.003 (12). Thus,neither a licensed pharmacist,nor a
        pharm acy technician,can altera physician'sprescription following receiptby thephannacy.

     161.. The only exception that allows a licensed pharm acistto alter the originalprescription

        from a licensed physician is when a licensed pharm acist substitutes a prescription for a

        generic brand of higher or lesser cost after full disclosure to the custom er of the retail

        am ount,or with perm ission ofthe prescribing physician in the form ofa valid Collaborative

        Practice Agreement(CPA)specifically between the individualpharmacistand individual
        prescribingphysician.Fl.Stat.466.025(specifyingtherequirementsforsubstituting aname
        branddrugwithagenericbranddrug).

                2. Alltaslks perform ed bv a pharm acy technician m ustbe under the direct
                   supervision ofa licensed pharm acist

     165. Although pharm techs cannot perform any of the actions referenced in the above

        paragraph defined as the Szpractice ofpharm acy,''the state of Florida has setspecific rules



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       regarding the supervision ofany tasksthatare delegated to a registered pharm acy technician

       orpharm acy technician in training. However,a çlpharm acist shallnotdelegate m ore tasks

       than he orshe can personally supervise and ensure compliance w ith thisrule.'' Rule 64B 16-

       27.420,F.A .C. Specifically,a pharm acist m ay delegate those non-discretionary delegable

       tasksenumerated in Rule64B16-27.420,to a Registered Pharm techs(RPT)orPharmacy
       TechnicianinTraining(PTT),butthoseindividualsmustbesupervised.1d.

    166. How ever, even those delegated tasks m ust be under the tldirect supervision''

       pharmacistwho iskton the prem ises atal1tim es the delegated tasksare being perform ,who is

       aware of the delegated tasks being perform ed and who is readily available to provide

       personalassistance, direction, and approval throughout the tim e delegated tasks are being

       perform ed,'' or a pharm acist m ay Ciem ploy technological m eans of com m unicate w ith or

       observethepharmacytechnician.Rule64816-27.420(2)(a)-(b),F.A.C.Thus,apharmacy
       technician cannot function under the kssupervision''of a licensed pharmacist at a different

       physicallocation than thatofthe technician,unlesstechnologicalm eans have been em ployed

       to com m unicate and observe the technician.

              pharm acy departm ent shall be considered closed w henever a Floridà licensed

       pharmacistisnotpresentandonduty.F1.Stat.465.003(1l)(b).

    168. Additionally,only a pharm acistmay m ake the finalcheck of the completed prescription

       thereby assum ing the com plete responsibility for its preparation and accuracy.Adm in Code

       64Bl6-27.l001(l)(a-b).
    169. Florida also enacted stringentguidelines on the transfening ofprescriptions forfilling of

       re-filling,requiring records to be m aintained the recording the transferto or from another

       pharm acy ofany prescription to be filled.Fla Stat.Title 32,Chapter465.026.


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              3. Requirem entfor transferred prescriptions
                                          -



           Floridahasalso enacted stringentguidelineson the transferring ofprescriptionsforfilling

       or re-filling,requiring records to be m aintained recording the transfer to and from another

       pharm acy ofany prescription to be filled. Fla.Stat.Tile32,Chapter465.0326.

               4. C ontrolled SubstanceD ispensina
           A pharm acistm ay only dispense a controlled substance upon w ritten or oralprescription

        ofaphysician,and in the course ofprofessionalpractice. Fl.Stat.893.04

        F. FLO RIDA STATE K ICK BA CK S

     172. Pursuantto Fl.Stat,465.185,S'liltis unlawfulforany person to pay orreceive any
        comm ission,bonus,kickback,orrebate or engage in any split-fee arrangem entin any form

        whatsoever with any physician,surgeon,organization,agency,or person,eitherdirectly or

        indirectly,forpatientsreferred to a pharm acy registered underthischapter.''


                               V I.    FA CTUAL A LLEG ATIO NS

           The term com pounding pharm acy describes a pharm acy thatprepares prescriptions for

        drugs to orderforeach custom erin aprocessthatis called com pounding.

     174. The m ain advantage to a compounding pharm acy or Gkom pounding''prescriptions is to

        allow the fonn ofthe m edication to be changed in a m annerthatis beneficialto the patientor

        tailors to the unique needs of a particular patient. For exam ple,a compounding pharm acy

        can alterthe type ofm edication from a pillform to a topicalform ,a dissolvable form ,oradd

        tlavorto m ake the m edication m ore acceptable. A dditionally,a patientm ay have an allergy



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       to the m ass-m arketed form ofa m edication,orthe dosage ofthe m ass-m arketed form ofthe

       m edication m ay be im proper for a patient's needs. Thus,a com pounding pharm acy can

       accom modate the patient'sneeds.

    175. Com pounding pharm acies are designed to accom modate a patient's needs w ith

       individually tailored m edications, as prescribed and ordered by a licensed physician or

       phanmacistinconjunctionwiththephysician'spermission,aspermittedbystatelaws.
          As such, compounding pharm acies do not dispense com m ercially available products

       unless a patient has an allergy to a particular m edicine that needs to be altered,or the

       patient'sneedsare notsuited to the m ass-m arketed drug.

       A. HABANA 'S SCH EM E TO D EFM UD TH E UNITED STATES G OV ERNM EN T,
         M EDICAR E,M EDICAID,AND TRICARE

          Thisisan action by RelatoragainstD efendantsforviolation ofthe Acts,and arisesoutof

       Defendantspresenting,and/orcausing to be presented,false claims to governmenthealthcare

       program sforthe paym entofcom pound prescriptions.

    178. D efendants knowingly subm itted fraudulent claim s for paym ent of prescriptions that

       w ere deliberately altered and forged by individuals w ho were not licensed physicians or

       pharm acists.    sam ple of the docum entary evidence that dem onstrates the schem e is

       contained w ithin, which consists of copies of prescriptions forged by em ployees and

       subm itted to governm enthealthcare program s.These prescriptionsw ere subm itted as ifthey

       w ere validly written and approved by a licensed pharmacistorphysician ratherthan through

       the illegalactions of pharm techs at the direction of the Defendants. The subm ission of

       fraudulentprescriptionsforpaymentareshown inoneormoreofthefollowingpatlerns:(1)
       medically unnecessaryandoftendangerousdrugsubstitutions,(2)splittingprescriptions,(3)


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        offeringincentivestopatients;and(4)offering illegalincentivestoemployeesforreferralof
        custom ersto thepharm acies.


            Standard proceduresforlegally receiving and processin: com pound prescriptions
     179. Defendants,primarilythroughthedirectionofphannacytechs(stpharm techs'')working
        at one of the Defendants compound pharm acies would receive an original w ritten

        prescription from a patientin person atthe frontcounterofthe com pound pharm acy,receive

        the written prescription via M etrofax,facsim ile transm ission,or a prescriber m ay callin a

        prescription directly to thecompounding pharmacy.(See,Exhibit1;Exhibit1A;Exhibit

        1B).
     180. Notably,only a licensed pharm acistcan prepare orwrite a phoned in prescription from a

        prescribing physician orprescribing physician'soffice into a written prescription.See,Pharm

        A dm in Code 64816-27.103.

           There are no circum stances in which a pharm tech may take an oral request for an

        originalprescription. A pharm tech can only take an oralrequestwhen the oralrequestisfor

        a refillofan originalprescription from a physician ora physician agent,and the oralrequest

        for the refill is dictated by the pharm tech on a printed,pre-m ade form provided by the

        pharm acy. An example ofthe pre-m ade form in w hich the oralrefillrequestm ust bc taken

        by a pharm tech used by the Defendantsto comply with the exception isattached. (See,
        Exhibit1C).Accordingly,norequesttakenbyaphanntechcaneverbetakenonastandard
        prescription pad.

     182. Defendants provided prescription orderform s to physicians w ith pre-formulated options

        forthephysiciantoselect.(See,Exhibit2).


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     183. D espite physicians being presented with a pre-fonnulated form w ith com pound

        prescription options from which the physicians m ust select, Defendants continually, and

        illegally, altered the selected formulations as described in below paragraphs to select

        alternate drugsthatwould driveup the retailpricepaid to theDefendants.

     184. Afteran originalprescription was received by one ofthe three m ethods described above

        (in-person,facsimile,orphone),thepharm techshouldassigntheprescription aprescription
        num ber. Next,the pharm tech should scan in and attach the originalprescription im age to

        the assigned prescription num ber, w hich w as entered into the system , PK or Ck-l-he

        Com pounder'',used by theD efendants.

     185. Next, if the patient was paying for the prescription using a health insurance program ,

        including governm enthealthcare program s,to subm itthe prescription the pharm tech should

        type in the drugs indicated on the prescription,as w ritten by the prescribing physician,and

        assigned prescription number. O nce the pharm tech enters this inform ation into the

        corresponding program , the entry constitutes a subm ission for paym ent to the insurance

        program . The subm ission can resultin an acceptance ordenialforpaym ent. A denialwould

        generally indicate a prescription,or com ponentw ithin the prescription,did not qualify for

        coverage by thehealthcare or insurance program .

     186. ltwasatthisjuncture,thattheprimarymethod by whichprescriptionswereknowingly
        altered and forged by the Defendants w as achieved through the use and direction ofpharm

        techs,in violation ofstate law ,atD efendants'phanmacy locations.




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       B. ALTERIN G AN D FO RG IN G PR ESCR IPTIO NS

     187. The Defendants' prim ary m ethod by which prescriptions w ere altered or forged was

       through the direction ofpharm techsatDefendants'pharm acy locationsthatincluded ûûforce-

       fitting''various combinations of form ulasto payors untila ltw inning''paym entauthorization

       wasachieved.

    l88. Defendants altered and reform ulated prescriptions received from physicians for

       compound prescriptions for patients. By doing so,the originalprescriptions were rendered

        invalid pursuantto federaland state law. See,42 C.F.R.423.100 (federalregulation
       m andating thatsubm issionsfor paym entto governm enthealthcare program s requires a valid

       prescription and thatthevalidity ofaprescription issetby state lawl;Fl.Stat.456.42(1)
       (Floridastatutedefiningvalidprescriptions).

    189. The originalprescriptionswere m anipulated to include orsubstitute drugs or ingredients

       forthe originalcom pound prescription to create a new and differentprescription thatwould

       be authorized for paym ent by the governm enthealthcare program s. There are two reasons

       the Defendants m anipulated the original prescription: first, to fraudulently optim ize the

       reim bursem ent rate obtained from the governm ent healthcare program '
                                                                             , and second to

       fraudulently create a reim bursable prescription that would not othenvise have been

       authorized forpaym entfrom thegovernm enthealthcare program .

    190. Defendants and non-pharm acistem ployees created false prescription data by rew riting

       the prescriptions and entering false prescription numbers and data into the reimbursem ent

       program s as subm issions       paym ent from governm ent healthcare program s. The

       Defendants' fraudulent actions resulted in patients receiving entirely different drugs from

       those prescribed. This w as performed not only by m aking illegal m odifications of the
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        ingredients,butalso by substitutionsofretaildrugsf0rcom pound drug prescriptions w ithout

        thephysician'sknowledge,often to thedetrim entofpatients'health.

     l91. Pharm techs would tcplay'' the subm ission system by dsforce feeding'' fraudulent

        prescription data for each individualprescription in as m any perm utations as possible until

        they were able to obtain a tçw inning com bination'' of a formula that w ould receive

        confirm ation orauthorization ofpaym entfrom a governm enthealthcareprogram .

     192. Once authorized by the governm enthealthcare program ,the pharm tech would forge a

        new, ostensibly original prescription to match the authorized, fraudulent prescription

        subm ission.

     193. Finally,thepharm tech would (1)sign offon the forged prescription misrepresenting
        themselvesasaphalnnacist,or(2)taketheforgedprescriptiontoacomplicitpharmacistfor
        thethepharmacist'ssignature.(See,Exhibit2B).

     194. There were two prim ary m ethods by which the Defendantsw ould docum ent or record a

        fraudulent prescription. First,pharm techs would write the altered form ula directly on a

        requestfora prescription received by facsim ile on the left-hand side ofthe fonn as ifitw ere

        partof a legalalteration m ade by a pharm acist under a Collaborative Practice Agreem ent

        (CPA). (See,Exhibit2 and Exhibit2A). Second,thepharm techswouldforge aûlnew''
        prescription thatappeared as an originaloralrequestfora prescription from a physician taken

        by apharmacistoran originalhard copy submission ofaprescription. (See,Exhibit2C,
        Exhibit2B,and Exhibit 27). However,even an oralprescription cannot legally be
        perform ed by pharm techs,and upon know ledge and beliefofthe Relator,prescriptionsw ere

        rarely, if ever, requested via telephone or brought to the pharm acy in hard copy form .

        Instead,this m ethod was used to concealthe Iack of a valid prescription on file with the
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       Defendants. Defendants would then file the fraudulent prescriptions together w ith the

       original faxed prescription in the pharmacy records,even though the prescriptions did not

       match.Defendantsbelieved thefiling processlookedbetlerin caseofan audit.(See,Exhibit
       2B). On many occasions,pharm techs would even forge oralprescriptions despite no
       originaloralrequestorprescriptionexisting.(See,Exhibit27).

          A tthe beginning ofRelator's employm entwith D efendants,as stated above,Defendants

       would file the forged oraltered prescriptionsw ith the originalfaxed prescription even though

       the prescriptions did not m atch. However, as described in the proceeding sections, the

       Defendantsevolved theirschemes as Relatorand prescription benefitmanagers (PBM s)
       called into question theirpracticesand requested originalprescriptions.

    196. The above schem es would begin afterthe pharm tech determ ined thatthe drug orproduct

       specified on the originalprescription was not covered by a governm enthealthcare program

       aftersubm itting the prescription data forpaym entfrom the patient's healthcare program sor

       insurance program . At that tim e,the force feeding the subm ission system for a w inning

       com bination forpaym entauthorization would begin.

    197. W ithout having a valid prescription,pharm techs, at the D efendants' direction,w ould

       knowingly create a new prescription num ber,know ingly alterthe form ulation on the original

       prescription or substitute the compound for a retaildrug w ithout consultation of a licensed

       pharm acist,and subm itrepeated false claim s. Each repeated false claim w as force fed as a

       new prescription subm ission untilan altered or forged prescription form ula ordrug winning

       combination wasauthorized forpaym entand coverage.

    198. For example,as Relator's testim ony w ill show,while she was w orking at Defendant,

       HabanaHospitalPharmacy(HHP),theRelatorviewedrecordscontaining l0-12submissions

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       of false compound prescriptions subm itted by a pharm tech prior to the final subm ission

       being accepted.

    199. AfterRelatorw asem ployed by the Defendant,she becam e aware ofthe comm on practice

        at HHP w hereby pharm techs gamed the subm ission of a form ula,through often m ultiple,

        fraudulentsubm issions described above untila payorsystem afforded paym entauthorization,

        and then forged aprescription to m atch the accepted form ula.

           The Defendants' practice of filing forged prescriptions and m ism atching original

        prescriptionsw ith the paid claim subm itted to governmenthealth program s openly continued

        atallD efendant'spharm acies,exceptforHH P,once Relatoropposed thepractice follow ing

        comm encem entofherem ploym entw ith Defendant,H HP.

    201. A ll claim s for compensation subm itted by the Defendants to governm ent health care

        program s, in the manner discussed in this com plaint,w ere false claim s because no valid

        prescription existed pursuant to federal and state law s. A ny claim for paym ent to a

        governm ent healthcare program m ust be based upon a valid prescri
                                                                         ption. See,42 C .F.R.

        423.100 (federal regulation mandating that submissions for payment to govemment
        healthcare program s require a valid prescription and thatthe validity of a prescription is set

        bystatelaw);Fl.Stat.456.42(1)(F1oridastatutedefiningvalidprescriptions).

     202. The Relatorw itnessed Defendantowners,Ryan Goodkin and Terrence M yers,know ingly

        and intentionally directing pharm techs to re-write original prescriptions w ithout the

        know ledge orperm ission ofa licensed physician orperm ission ofa pharm acistas specified

        and required by state law . Further,Relator w itnessed M r.G oodkin and M r.M yers subm it

        the fraudulently force-tm ing these re-written, fraudulent prescriptions under false

        prescription num bers to the U .S.Governm ent,often changing the fonnula,untila winning


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        paym entauthorization was obtained thatwould be covered by the PBM forthe governm ent

        healthcareprogram s.

    203. Additionally,the Relator becam e aware thatDefendants were directing pharm techs to

        continue with the com m on practice of m aking false subm issions,identifying formulas that

        would be paid by healthcare program s, and forging prescriptions to m atch the authorized

        form ula.

           Additionally, several distinguishable schem es were put into place by Defendants to

        increase the retailcostpaid by insurance program s to D efendants and to offer incentives to

        custom ers to t5ll their prescriptions at the Defendant pharm acies w ith unlawful

        kickback/rem uneration schem es. These schem es, on inform ation and belief of Relator

        consisted of m edically unnecessary and often dangerous drug substitutions, splitting

        prescriptionsand offering incentivesto patients;and offering illegalincentivesto employees

        for referral of customers to the pharm acies. The schem es, on inform ation and belief of

        Relatorare asfollow s:

            DRIVING UP RETAIL PRICE THROUGH                           USE     OF M EDICALLY
            UNN ECESSM W DRU G SUBSTITU TIO NS

     205. The first schem e involved the Defendants directing pharm techs to know ingly alter or

        forge prescriptions by making illegaltdsubstitutions''ofdrugs or ingredients indicated on an

        originalwritten prescription. The prescription fraud was perform ed by creating fraudulent

        ûtoral'' or written prescriptions or by illegally altering the formulation of a com pound

        prescription to include medically unnecessary drugs that would obtain a higher billable or

        retail am ount from a governm ent healthcare program when the claim w as subm itted as

        com pared to thecostauthorized using theoriginalprescription.



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    206. This schem e also involved Defendants m aking m ultiple false subm issions for com pound

       or retails drugs to healthcare program s to identify payable form ulas for compound drugs.

       Eachofthesesubmissionshadnovalidprescriptiontojustifythefalsesubmissionswhichall
       were forpaym ent.

    207. Asw ith m any ofthe Defendants'schem es,theD efendantsm ostoften know ingly directed

       pharm techs to independently create these illegalsubstitutions,w ithoutdirectsupervision of

       a licensed pharm acist or physician em ployees. A lthough, on occasion Defendant ow ners,

       who were also licensed Pharm Ds,participated in the creation offraudulentprescriptionsand

       subm issions.

    208. The substitution schem e wasused acrossthe spectrum ofprescriptionsthatw ere received

       by Defendantsand with variousprescriptions subm itted to allinsurance program s,including

       M edicare PartD ,Florida M edicaid,and Tricare,by the Defendantowners and employees

       identifying drugswith Average W holesale Prices(AW Ps)thatwere higheron arecurring
       basisto be used asthe substitutions.

           Relator w itnessed day to day conversations and em ails between D efendant owner and

       pharm acistTerrence M yers,and pharm tech,Sean Francisco,aboutwhich drugs'A verage

       WholesalePrice(AW P)werehighestorhadbeenincreased,andRelatorwouldthenwitness
       those ingredientsordrugs being substituted into prescriptionsbeing com pounded.

    210. Not only w ere these substitutions illegally m ade,resulting in false claim s; they w ere

       m ade by a pharm tech not possessing either the clinical training to understand the

       pharm acology of such a substitutions or legal authority by way of any license. Relator's

       professional, clinical review of these fraudulently substituted com pound prescriptions

       revealed that the substitutions often had no relationship to the treatm ent or diagnosis for


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        w hich the original prescription w as prescribed by the physician. ln fact, D efendants

        subm itted com pound prescriptions for paym ent from the governm ent healthcare program s

        thatcontained drugs thatwere m edically unnecessary,while also frustrating patienttherapy

        andendangeringpatientsafety.(See,Exhibit3,Exhibit3A,Exhibit3B,and Exhibit3C).

           Com monly used drugs           D efendant's schem e illegally substituting m edically

        unnecessarydrugsto driveuptheretailcostsincludedneurological(neuro)treatmentagents
        beingsubstitutedintocreamsrequestedformuscleandjointpainbypharm techs.Id.

     212. These neuro agents,as substituted,were often m edically unnecessary. M oreover,these

        drug substitutions would notbe readily identified by an individualunless they had training

        regarding the indications ofuse ofthe drugs and phannacology ofthe drugs used w ithin the

        compound. However,even w ith form altraining,m ostim portantly,withoutknowledge ofthe

        originalprescriptions,whichweremoreappropriatefortheconditions-- Kdmuscleandjoint
        pain'' -- indicated by the patient's physician on the facsim ile prescription, the illegal

        Substitution w ould easily be overlooked by a PBM and the Defendants get paid the

        substituted drugs.

     213. Examples w ithin the docum entary evidence includes Exhibit 2A , which show s an

        originalprescription tem plate ûcchecked-m arked''by the prescribing physician lûm uscle and

        jointpain,''specifically notated by the physician fora patient's hip pain. The original,
        specitic prescription checked by the prescribing physician included (GD iclofenac 5% ,

        Gabapentin 6%, Cyclobenzaprine 4% , Clonidine 0.23% Gabapentin 6% .''              But the
        prescription w as illegally altered,on the left-hand side ofthe colum n to include additional

        drugs/ingredients, adding Lidocaine, while retaining t-he Diclofenac, and including three

        additionalingredients notchecked-m arked on the form by the physician. A lthough,one of
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       theingredients,Celecoxib (non-steroidalanti-inflammatory), could arguably bemedically
       connected, if substituted legally, the other two substituted drugs were not m edically

       necessary -- Duloxetine (serotonin-norepinephrine reuptake inhibitor ISNIt1I, mostly
       prescribed for major depressive disorder,generalized anxiety disorder,fibromyalgia and
       neuropathicpain),andLamotrigine(Anticonvulsant,commonlyusedtotreatepilepsy). The
       entire prescription substitution w as improper, and, the insertion of Lam otrigine and

       Duloxetine is also m edically unnecessary,as ithas no connection to treating hip pain. The

       purposesofthissubstitute wasexclusively to inflate the cost(and reimbursement)ofthe
       originalprescription.Additionally,no legalCPA was on file for this patient,norw as there

       ever a requestfrom a pharm acistto the physician to m ake the change through a written or

       oralrequest. ltshould be noted that Dr.Pateldid notsign off on this exam ple prescription

       change or any other prescription change,nor did Defendantowners have a CPA in place to

       allow these changesto be m adeon behalfofDr.Patelby a licensed pharmacist.

    214. During Relator's attem ptsto cross-check suspected forged and altered prescriptionsw ith

       the originalprescriptionsalleged to have resulted from faxed prescriptionsthrough M etrofax,

       Relatornoted severalinstances where no original fax could be identified for prescriptions.

       Thus,the pharm techs w ere creating from whole c10th prescriptions and comm encing new

       drug therapies. This is a m anifestly and expressly nondelegable task that m ay only be

       performed by pharm acists. Pharm techs knowingly initiated these new drug therapies to

       utilizem ore expensive com pounds.

           M EDICALLY UN NECESSAR Y SUBSTITUTIO NS - TR IC AR E SPECIFIC
              second scheme, and m ethod Defendants know ingly and illegally used to include

       m edically unnecessary drugs into compound prescriptions to drive up the retailcostcharged



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       to the govenam enthealth care programs,wasto routinely and specifically include,Bacitracin,

       into com pound prescriptions.

    216. Defendants,through pharm techs,and w ithout perm ission of a licensed pharm acist or

       prescribing physician, knowingly and intentionally subm itted claim s for paym ent to the

       governm ent healthcare program ,Tricare,forun-prescribed,m edically unnecessary and very

       expensiveBacitracin becausethepaymentratecould exceed$10,000.00.

    217. On one occasion,D efendants were imm ediately flagged for an individualprescription

       auditduetothecostsofthereimbursement.(See,Exhibit4andExhibit11).Upon,inquiry
       to the physician to obtain an originalcopy ofthe prescription forBacitracin,Realtorbecam e

       aware thatthe doctorhad notwritten a prescription forthe drug.

    218. Defendants knowingly subm itted the above described false claims containing no valid

       prescriptionsto Tricare.

       D. D RIVING UP RETAIL PRICE BY UN LAW FULLY SPLITTING
          PRESCR IPTIO NS A ND O FFERING IN CEN TIW S TO CU STOM ER S

    219. Another schem e, included D efendants know ingly directing phann techs to split an

       originalcom pound prescription into two separate prescriptions in order to receive a higher

       retailrate forreim bursem entfrom thegovernm enthealth care program .

    220. There were tw'
                      o specific drugs m ost comm only used by Defendants in this schem e --

       D iclofenac and Lidocaine --both ofw hich are com mercially available.

    221. Defendantshad severalvariationsofthe schem esused with these two drugs,asdescribed

       in the below paragraphs.
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    222. First, Defendants directed pharm techs to perform a EGbait and sw itch'' on patients

       whereby the pharm techs would illegally (ûsplit''a compound prescription received from a

       physician and forge tw'
                             o new, separate prescriptions -- one com pound and one retail

        prescription. This tisplitting''ofthe prescriptions provided no benefitto the patientand the

        indication of use of the two separate prescriptions was not related to treatm ent for the

        patient's conditions. This was done for the exclusive purpose of increasing Defendant's

        reim bursem entratefrom healthcare program s.

    223. Defendants w ould split the original prescription into two forged, and thus invalid,

        prescriptions. The firstwould be a Cdcom pound''prescription ofvarious com ponents,and the

        second wouldbe alarge amountofeitherDiclofenac orLidocaine. (See,Exhibit5,and

        Exhibit6).
    224. The D efendants would provide the ûûcompound''prescription to the patient at no cost

        (free),by stating they were waivingthecopay,an illegalact,to incentivizethepatientto
        processtheirprescriptions through Defendants,and would only charge the patientthe co-pay

        foreithertheD iclofenacorLidocaine.

           The Defendants'pharm techsw ould even advise patientsto apply the two topicalcream s

        separately into the pal4 of their body and use a blow dryer to com bine the dl'y the cream s

        together.

     226. In these situations, Defendants w ould present both drugs, the compound and the

        Lidocaine or Diclofenac, to the patient in a container only designated for compound

        prescriptionsto concealthe ttbaitand sw itch''to thepatients.




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           Defendants soughtto include and charge for com m ercially available D iclofenac and/or

       Lidocaine as a substitute orportion ofasm any originalcompound prescriptions as possible

       and subm itting claim sto governmenthealthcare program s forthese fraudulently substituted

       prescriptions. The incentive to the Defendants cam e w ith only charging the com m ercially

       available,D iclofenac orLidocaine,to the healthcare program which w ould generate a higher

       retailprice as com pared with the costofthe compound prescription had a sm alleram ountof

       either drug been com pounded as intended. ln m ost instances,neither the D iclofenac nor

       Lidocaine w asatal1related to the originalcom pound prescription written by aphysician,but

       Defendants w ould forge the prescriptions to subm ita claim forpaym ent for a large volum e

       ofeitherdrug asa retaildrug because aprogram m ay notacceptcompound prescriptions.

    228. TheD efendantsw ould know ingly billthe higher,com m ercially available productscharge

       both the splitprescriptionsto the governm enthealthcare program afterillegally splitting the

       originalphysician prescription.

    229. In this m anner,the Defendants would know ingly participate in unlaw ful rem uneration

       schem es by appearing to offerthe custom eror beneficiary two separate prescriptions for the

       price ofone,enticing them to retul'
                                         n to Defendantpharm aciesforprescription refills.

          The baitand sw itch by the D efendantswasdesigned to to obtain the approvalforfederal

       healthcare program sthatdid notallow subm ission ofcompound prescriptions by only billing

       the com mercially available Diclofenac orLidocaine.

          Separate from the prescription splitting, bait and sw itch schem es perform ed by

       Defendants for Lidocaine and Diclofenac,the Defendants deployed a third schem e w hich

       wasa variation ofthe splitting involving both drugs.




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    232. Specifk ally,D efendantswould forge a prescription m aking a requestforaprescription of

       DiclofenacsolutionandLidocainesolutiononthesameprescriptionpad. (See,Exhibit7).
       This was written by pharm techs as if the prescription were an originalprescription from a

       physician. Id. Upon reasonable inform ation and belief, Relator w ill testify none of the

       identified prescriptions resem bling the Exhibit 7 were originals, and a11 were forged by

       pharm techswithoutapprovalorknowledge ofphysicians.

    233. Again,due to the high reim bursem entrate paid by governm enthealthcare program s for

       Lidocaine,D efendants w ould perform a bait and sw itch on patients, presenting both the

       Lidocaine and D iclofenac in containers designated only for com pound prescriptions, and

       would charge the healthcare program only forthe Lidocaine.

    234. D efendants know ingly and fraudulently subm itted claim s for paym ent by subm itting

       prescriptions forcompensation from governm enthealthcare program s thatdid notoriginate

       from a valid prescription,thatw ere tainted by unlawfulkickback schem es,and contained

       drugsthatm ay have been m edically unnecessary.

       E. UNLAW FUL         ACTION       UNDER        STATE     PHARM ACY        LAW S AND
            ENDA NG ERM ENT TO PATIENTS

           Relatorrealized thatpharm techswerebypassingDrugUtilization Review (DUR)while
       reviewing prescriptions. Realtor becam e aware of the DUR bypass because the retail

       softwareprogram would im printthe pharm acy technician'sinitials thatbypassed the review .

        Specifically,Relatornoticed Office M anager Rhonda Dykes was registered as a pharm tech

        in thepharm acy retailcom puterprogram when she wasnota registered pharm tech orpharm

        tech in training,and she wasbypassing the D UR on variousoccasions.




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    236. RelatornoticedtheDefendantsplacedher(Relator)asthePlC (Pharmacistin Charge)
        overlocationsand pharm techsthatRelatordid notknow and was notin the sam e location to

        supervise or supervise through electronic m eans as required by state law. W hen Relator

        removed the unauthorized pharm techs and brought the issue up to D efendants, the

        Defendants rem oved her perm issions to rem ove phannacy techs from being classified as

        underhersupervision.

    237. Specifically,Defendantsregistered pharm techs underRelator's nam e on officialrecords

        atan off-site billing offices,Phanuacy Grid,LLC,- Tampa and W estPalm location - and

        Longevity,LLC. (See,Exhibit26). Thus,Defendantsknowingly allowed pharm techsto
        operate atlocationsw ithoutsupervision ofa licensed pharm aciston-site orthrough electronic

        m eansas isrequired by state law.

     238. D efendants also allowed pharm techs to have access to change compound Iogs in a

        sim ilar m anneras wasperform ed in preparation forthe Express Scripts audit. O nce noticed

        by Relator,she did whatshe could to prevent access to the specific pharm acy technician at

        issue - Gerald Batem an - by im ploring assistance from a co-worker Sean Francisco to lock

        Mr.Batemanoutofthesystem.(See,Exhibit19).

     239. Defendants em ployed pharm techs to work out of their billing offices, located at

        Pharm acy Grid,LLC and Longevity,LLC located at the sam e physicallocation at l0l N .

        FederalH ighway Lake W orth,Florida and l20 N .FederalH ighway,Suite 306,Lake W orth,

        Florida, respectively. At these locations pharm techs worked processed billings for all

        pharmacies,took patientscalls,and worked withoutsupervision ofa licensed pharm acist.

     240. One Defendant,owner Terrence M yers,Jr.,illegally wrote non-com pound prescriptions

        for his ow n fam ily and em ployee's significant others,under the guise of a Collaborative
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       Practice Agreem ent.Relator also believes thatow nerTerrence M yers,Jr.,wrote controlled-

       substance prescriptions for at least one patient.Relator notified Defendant, ow ner Ryan

       Goodkin,thatcontrolled substanceprescriptionswere being illegally written. (See,Exhibit
       24,Exhibit25).

    241. Defendantsconcealed and denied the existence ofa Habana billing office from UCM ,an

       accrediting body underthe NationalA ssociation of Boards of Pharm acy,The billing office

       w as located at l8946 Sunlake Boulevard in Lutz,Florida,w here pharm techs worked as

       pharmacistsunderverylittleornopharmacistsupervision.(See,Exhibit26).

    242. Relator becam e aw are that Defendants were attem pting to use a pediatric prescription

       form that did not m eet the regulations and requirem ents for pediatrics. As such,Realtor

       refused to use the invalid form and corrected theform to m eetpediatric standards.

           EVIDEN CE O F DEFENDAN TS' SCH EM E - CO NCEALING REC OR DS AND
            CREATING FALSE RECORDS OF DISPENSED DRUGS THROUGH
           A LTEM TION OF PATIENT PR ESCRIPTIO N REC O RDS

           In January 2016,Express Scripts,a PBM ,notified D efendants that a ûûroutine audit...''

       would be conducted of(Defendant's)û(...prescription information.'' (See,Exhibit10). ln
       February 2016,in preparation and in advance ofthe ExpressScripts audit,Defendantsaltered

       patient prescription records inside Habana's proprietary PCCA              spftw are,

       Com pounder'',to indicatefalse modification dates.

    244. Then on January 29,2016,Express Scripts term inated Defendants participating provider

       statusintheirnetworkvialettercorrespondence.(See,Exhibit12).

    245. In preparation forthe audit,individualcom pound logswere altered by D efendant,owner

       Terrence M yers,Jr.,to change the ingredients and date stam ps on the com pound logs to



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        m atch what was billed to healthcare or insurance programs from the forged prescriptions

        m aintained by the Defendants. This w as perform ed by Defendants by cross-referencing

        these docum ents and changing the electronic data in the Defendant's software program s on

        the compound logs thatis associated to each individualcompound prescripticm . An example

        of an unaltered com pound log fora single compound prescription is attached for reference.

        (See,Exhibit14).

           Defendant ow ner, Terrence M yers Jr., and Sean Francisco w as able to m ask the

        fraudulent alterations by preventing the date stamp in the bottom left hand corner of the

        document(highlighted in yellow)from properly updating and indicating the lastdate a
        modification w asm adeto the com pound log. Id. lnstead,Defendantowner,w ould alterthe

        m odification date in the computersoftware so thatitindicated the sam e date asthe date the

        prescription wasentered.

    247. Relator becam e aw are of the schem e because daily signature logs,required by state law

        to be maintained by D efendant, Habana Hospital Pharm acy,indicate, by signature,w hich

        pharmacistswerepresentinthepharmacyonspecificdays.(See,Exhibit13).Thesignature
        logs can be cross referenced w ith the individual com pound log associated with specific

        individual prescriptions processed through Express Scripts reviewed during the audit.

        Falsified records will be identifiable because the nam e/initial stamp on the electronic

        compound log (highlighted in yellow) willindicate TM (Terrence Myers) rather than
        Relator's initials,orotherpharm acists'initials,on datesthe com pound 1og indicatesRelators

        orotherpharmacistswereworkingandpresent.(See,Exhibit14).
     248. During the audit,Defendants concealed and denied the existence of the billing office

        located w ithin and atthe sam e registered addressas Defendant,Pharmacy Grid,LLC,where
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       pharm techs worked as pharm acists under very little or no pharm acist supervision. The

       billing office w aslocated at 120 N .FederalH ighway,Suite 306,Lake W orth,Florida.

    249. During Relator'sem ploymentw ith Defendants,D efendants were requested by Carem ark

       to provide an S.O .P.,or Standard Operating Procedure,proving there w as a process for co-

       pay collection and thatco-pays were notw aived.The docum entwas falsely back-dated by

       theDefendantsandsuppliedtoCaremarkasproof.(See,Exhibit11).

       G . K ICK RA CK S FRO M DEFENDM TS TO EM PLO YEES AN D PATIENTS FO R
           REFERR AL S

          Defendants im plem ented several kickback schem es to obtain referrals and incentivize

       referrals w ith their own em ployees and through waiving patient's co-paysthatgovernm ent

       healthcare program srequire to becollected.

    251. Brittney Cardinale, a Habana pharm acy technician, also received a kickback from

       Defendants from her husband's compound prescriptions being processed by Habana and/or

       Defendants.

    252. Defendants know ingly paid percentage based com m issions to pharm acy technicians and

       pharm acy representatives employed by Defendants,som e of whom held dualroles in these

       positions,forevery patientreferred to the pharm acy by thatem ployee,including patientand

       prescriptionspaid by govenzm enthealth careprogram s.

    253. As described in above paragraphs,w hen employing the schem e involving prescription

       splitting schem e,Defendantsroutinely and systematically w aived co-paysforpatients forthe

       ûGcompound prescription''thatwould accom pany the larger dose of Diclofenac orLidocaine

       thatwasprovided to thepatientseparately.




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    254. Atthe direction of Defendants,a pharm acy technician located atLongevity,LLC,along

       with Pharm acy Technician, Sean Francisco, know ingly conspired to refer friends and

       acquaintancesto the Defendantpharm aciesforprocessing ofcom pound prescriptions. These

       prescriptionswere being processed through and paid by the governm enthealth care program ,

       Tricare,and wereforan exorbitantretailamountthatcould exceed $l0,000.00.

    255. A fter processing through Defendant, Longevity, LLC, the prescriptions w ould be

       processed through Defendant,HHP,w here Relatorw aslocated.

    256. Upon noticing a delay in the processing of the prescriptions described above by pharm

       techs located at HHP w ith Relator, Relator learned from pharm acy technician, Brittney

       Cardinale, that the prescriptions were not to be given tipriority'' for filling because the

       prescriptionswerejustûtthrown inthetrash,''neverintendedtobeusedbythepatients,and
       served the exclusive purpose of ûtchurning'' fraudulent, govenzm ent revenue for fake

       prescriptions.

    257. Relator also learned that pharm acy technician, Brittney Cardinale, w as directed by

       Defendants not to invoice the com pound prescriptions at issue being paid by Tricare and

       being processed by the Longevity, LLC pharm acy technician for her friends. Instead,

       Brittney Cardinale understood thatthe pharm acy technician at Longevit'y,LLC paid the co-

       paysforthe prescriptions being processed for herfriends,and no invoice needed to be sent.

       Further,the pharm acy technician would receive a percentage based comm ission calculated

       based offthe price ofthe com pound.D efendants maintained the patients creditcards on file.

       In orderto process the prescriptions from herfriends,the pharm acy technician autom atically

       processed refills ofthe expensive prescriptions through Tricare the requestof the patient or




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        the authorization from a licensed physician using the credit cards on file. Relator becam e

        aware thatthese refillswereroutinely and system atically run m onthly by Defendants.

    258. Relatorbecam e aw are ofphysicians w ith whom Defendantsm aintained ttrelationships,''

        such thatthe physicianswere compliantin the altering oftheiroriginalprescriptions. (See,

        Exhibit8).
     259. On severaloccasions, the PBM S flagged these expensive com pound prescriptions for

        claim review and validation,an example ofwhich is dem onstrated by the attached evidence.

        Id.

     260. As discussed in above paragraphs, the pharm techs would receivc percentage based

        com m issionseach tim ethese prescriptionswere processed through D efendantpharm acies.

        SCHEM E BY DEFENDA NT TO FM UDENTLY REFER ,PRESCRIBE AND PA Y
                                          PATIENT
     261. Upon reasonable belief and knowledge,Relator states thatatleastone physician w ould

        routinely see and write clinically unnecessary prescriptions for select patients who were

        friends of a Longevity pharm acy technician.These prescriptions were processed and paid

        through Tricare,and when dispensed,they were discarded,and the com m ission payable to

        the technician associated with the prescription was shared with thepatient.

        H . PH YSICIAN REFERRALS AND R EIM BURSEM ENT

     262. Defendantsknow ingly compensated a physician,such asD r.Raymond W u,forM edicare

        and M edicaid referrals,in exchange for Defendants filling one personalprescription for Dr.

        W uforfree,atavalueofseveralthousand dollars.(See,Exhibit9).




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           EFFOR TS BY RELATO R BEA TR IZ M OM LES TO R EFO RM TH E BUSINESS
           PM CTICES OF H ABA NA

    263. Relator attem pted to circum ventthe illegalpractices ofD efendants and pharm techs by

       bringing the illegality ofthe practice to the pharm techs'attention and to the attention ofthe

       owners,Steven M edendorp,Esq.,Ryan Goodkin,and Terrance M yers;G oodkin and M yers

       werealsolicensedpharmacists.(See,Exhibit17B andExhibit15).

    2G . Relatorm ade severalattem pts on differentoccasionsto speak w ith Defendantow nersto

       explain and objecttothepractice ofpharmacy teclmicianswriting oralprescriptionstaken
       from physicians,re-writing or re-formulating compound prescriptions after receipt from a

       physician,perform ing any task related to the filling and delivery ofa prescriptions w ithout

       the supervision of a licensed pharm acist.A dditionally,on a daily basis,Relator prohibited

       pharm acy technicians and office personnel from perform ing any of the identified non-

       delegabletasks ofpharm acistto the bestofherability,and attempted to im plem entrestraints

       to what had been established as norm al practice prior to her hiring by the D efendants,by

       educating owners and em ployees,supplying the aforementioned w ith appropriate state law

       and adm inistrative guidance on the m atter,and diligently m onitoring the office staffaround

       herto ensureno prescriptionswere provided to patientswithouthersupervision.

    265. To verify the pharm acy technicians understood the state regulations and laws,Relator

       would discuss the requirem ents and prohibited acts of pharm acist technicians. Relator

       required all pharm acy technicians under her to review and sign the Adm inistrative Code

       64B 16-27.420, Pharm acy Technician - Delegable and N on-Delegable Tasks, including

       Brittany Cardinale,Omayra Diaz,and Erick Tamayo.(See,Exhibit 16 and Exhibit 17B).
       Relator would also inform Pharm acy Technicians on a regular basis thatthey cannotrewrite



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       prescriptions,thatpharm acy technicians cannottake oralprescriptions,and thatprescriptions

       cannotbe changed after submission to a healthcare program . (See,Exhibit 16A,Exhibit
       16B).

    266. Additionally,theRelatorobjectedtovalidating orchecking any finalprescriptionsthat
       were notw ritten by a Pharm acist,as she cam e to recognize the handw riting ofseveralpharm

       techs,including Brittney Cardinale and Om ayra Diaz Garcia,who frequently, know ingly

       altered and forged prescriptionsasdescribed in this com plaint.

    267. ln attem pts to correct the illegal procedures, Relator requested to be notified to write

       prescriptions prior to the processing of any prescriptions,how ever,Relator's instructions

       werenotfollowed. (See,Exhibit16B).Despiteherrequest,pharm techswouldnotnotify
       herofthe necessary inform ation untilaftera false claim was subm itted and paid,and after

       theproductwaspreparedforshipping.(See,Exhibit16B).

           To docum ent the illegal behavior, Relator w ould notate the initials of the pharm acy

       technician that requested the Relator write a new prescription on the alleged original

       docum ent,orifcircum stancesdid notallow ,on a telephone prescription,to then discontinue

       the original prescription and on the sam e, original docum ent, Relator w ould note what

       Defendant had changed it to along with the initials of the Defendant em ployee who had

       requestedthere-writtenprescription and thechangedprescriptionnumber.(See,Exhibit7,
       Exhibit2A and2B).
    269. Relator also attempted to frustrate the Defendant's practice of forging new prescriptions

       with the approved form ulas by writing the lûnew '' form ula directly on the original

       prescription from a physician to docum entthe changes and flag the changes to the PBM S.

       (See,Exhibit1B,Page 1). Asdescribed above,Defendantsattemptedto concealtheirfalse

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       subm issions and prescription forging by having phanzz techs identify and subm ita form ula

       forpaym entthatdid nothave a valid prescription.A fter which,a new prescription would be

       forged to m atch the form ula subm itted by the pharm acy technician and replace the original

       prescription. This w as often follow ed by pharm techs subm itting the new ly, forged

       prescriptionforsignatureofthephanuacistincharge(althoughnotrequired).However,once
       Relator m ade clear,as stated in the above paragraph,thatshe would notapprove or write

       prescriptionsaftera subm ission had already been m ade,pharm techsavoided bringing this to

       her attention as frequently.H ow ever, Defendants would send correspondences to Relator

       requesting changesto prescriptionsby providing prescription num bersand new form ulasthat

       required Gûnew''prescriptionsto bewritten asifthey had notalready been submitted. (See,
       Exhibit 18). Relatorattempted to frustrate this scheme by writing the ûlnew formula''
       directly on the original prescription to docum ent the changes. H owever, D efendant

       em ployeesFaith W ashington, instructed Relator to avoid doing this to preventPBM S from

       auditingDefendantandrecoupingtheDefendant'sreimbursement.(See,Exhibit20).

          In other instances,Relator took actions to attemptto preventpharm techs and pharm acy

       em ployees from perform ing tasks thatwere only perm itted to be perform ed by pharm acists

       and thatputpatient safety atrisk. Relator realized that pharm techs w ere bypassing Drug

       UtilizationReview IDURIwhilereviewingprescriptionsfrom notificationsinthepharmacy
       computer program im printing the pharm acy technician that bypassed DUR . Specifically,

       Relatornoticed thatO ffice M anagerRhonda Dykeswasregistered asa Pharm acy Technician

       in the pharm acy computer program when she w as nota registered pharm acy technician or

       pharm acy technician in training, and she w as bypassing the DUR on various occasions.

       Relator blocked Office M anager Dykes and contacted the pharm acy program company and



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       gavethem examplesofthe error.H owever,afterDefendantrealized thatRelatorhad blocked

       Office M anager Dyke, from the retail computer system the D efendant ow ners rem oved

       Relator'sperm issionsand abilit'
                                      y to correctunauthorized users in the pharm acy program .


           ln addition, the D efendant failed to incorporate patient clinical profile and history
       infonnation into the system ,as required by code,thereby invalidating Defendant'seligibility

       to even participate in governmenthealth programs.See Fl.Stat.465.0266 (b);Pharm
       A dm in Code 64B 16-27.1001,648 16-27.210.


          DespitetheRelator'sobjectionsto employeesand management,attheinsistenceofthe
       owners and office personnel, and through actions from the sam e to avoid and frustrate

       Relator'sattemptstocorrectthebehavior,theDefendant'sillegalpracticescontinued.(See,
       Exhibit21). Still,Relatorcontacted physiciansand patientswhen altered prescriptionsor
       formulas were observed.(See,Exhibit22). ln some cases,the doctors had noteven
       exam ined the patient, nor had any idea about the prescription being processed by the

       Defendants. Id. Relator also enlisted the assistance of compliant employees to assist in

       m onitoring and deterring the illegal actions encouraged by the Defendant owners and

       em ployees. For example, Relator received assistance from a trusted technician, Freddy

       Pagan,in double checking form ulas to identify altered form ulas by pharm techs thatw ere

       clinically,pharmacologically and mathematically incorrect. (See, Exhibit 23). Lastly,
       Relatorm adedisclosuresto appropriate agenciesregarding sim ilarconduct.

                                RedressSoughtby Relator
          ThisComplaintseeksredress forthe schem e created by Defendantswhich resulted in its

       billing and receiving of funds from M edicare, M edicaid, and Tricare for com pound



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        prescriptions that w ere not ordered by the patient's physician, not written by a licensed

        physician or pharm acist,were notcom pliantaccording to the US Pharm acopeia in a m anner

        to attentive of patient safety, or that were resubm itted through PK under fictitious

        prescription num bers with altered form ulas unverified by a physician orpharm acistw ithout

        the physicians'know ledge to identify form ulas the govelnm enthealth care program s w ould

        cover. In som e cases,physicians'signaturesw ere forged,pharm acistinitials and signatures

        w ere forged,prescription form ulas were re-written by pharm techs,and oral prescriptions

        w erewritten by pharm techsin violation ofthe law in the State ofFlorida.

           The Complaintalso seeks redress foran additionalapproximately $ l7,000,000.00 in
        im proper M edicare, M edicaid, and Tricare paym ents, consisting of paym ents to the

        D efendants whereby a com pany procedure was implemented such that prescriptions were

        autom atically renewed annually for refills w ithouta valid prescription from a physician or

        referencing prescriptions whereno refillswere authorized.


                                       Vll.    CH A RG ES

                     Count1:Presentinz and Causinu to Be Presented False and
                     FraudulentClaim s in Violation ofthe False C laim sA ct,31
                                         U.S.C.kk3729(a)(1).

           The Defendants know ingly presented and/or caused to be presented, false claim s to

        M edicare,Florida M edicaid,and Tricare forthe paym entofcom pound prescriptionsthrough

        the use ofaltered and forged prescriptions

     276. Defendant owners,Ryan Goodkin and Terrence M yers,through in person interactions

        and comm unications, knowingly directed pharm techs to re-w rite original prescriptions,

        withoutknow ledge orperm ission ofa licensed physician orperm ission ofa phanuacistasis
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       required by state law ,and to subm itthe prescription undera false prescription numberuntila

       form ula w as identified that would be covered by the PBM of both govem m enthealthcare

       program s,M edicare PartD,Florida M edicaid,and Tricare.

           Defendantsownerand non-pharm acistemployees atthe owners'direction know ingly re-

       wrote prescriptions, received from physicians for com pound prescriptions for patients,

       rendering the prescriptions invalid, and re-form ulated and re-w rote the prescriptions to

       include substances/com pounds/ingredients that would render the prescription billable to

       M edicare and Tricare,when the originalprescription as form ulated w ould not qualified for

       coverage underthe govcrnm enthealthcare program .

    278. D efendantsowners and non-pharm acistemployees atthe owners'direction w ould create

       false prescription data afterreceiptofa written prescription received from apatientin person

       atthe counterorvia fax from the prescribing physician

    279. Defendants ow nerand non-pharm acistem ployees atthe owners'direction re-w rote and

       reform ulated prescriptionsreceived from physicians forcom pound prescriptions forpatients,

        rendering the prescriptions invalid, and re-form ulated and re-wrote the prescriptions to

        include substances/com pounds/ingredientsthat would render the prescription authorized for

        paym ent by M edicare Pal4 D plans, Florida M edicaid, and Tricare when the original

        prescription as form ulated would notqualify for coverage under the governm enthealthcare

        Progran;.

     280. W hen Defendants owners and non-pharm acist em ployees re-wrote prescriptions,

        SEsubstitutions'' w ould be determ ined        the non-pharm acist employees           that

        compounds/ingredients w ere included that would obtain a higher billable am ount to

        M edicare and Tricare when the claim wassubm itted.

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          W hen Defendants owners and non-pharm acist em ployees re-w rote prescriptions they

       w ould not receive approval from a licensed pharm acist or physician or the prescribing

       physician.

    282. Underregulations for M edicare Pal4 D ,allentitiesinvolved in providing PartD services

       mustabide by statepharmacy laws. 42 C.F.R.j423.505(i)(4)(iv)(requiring compliance
       with Federallaws,Regulations,and CM S instructionsl;42 C.F.R.j 423.504(b)(iv)(A)
       (requiring compliance with applicable Federal and state standardsl; 42 C.F.R. j
       423.153(c)(1)(Sponsorsmustrepresentthatnetworkprovidersarerequiredtocomply with
       statepharmacystandards).

    283. Additionally, pursuant to Section 1860D-2(e)(1)(A) of the Social Security Act,a
       çlcovered PartD drug''is defined as a drug thatis ûûdispensed only upon prescription,and of

       Ssthosedrugswhicharetreated asprescribeddrugsforpurposesofsection 1905(a)(l2)gthe
       Medicaid statute),a drug which may be dispensed only upon prescription.''See also 42
       C.F.R.423.100.

    284. W valid prescrl
                       ption isdefined asa prescription thatcomplieswith allapplicable State
       1aw requirem entsconstituting a valid prescription. 42 C.F.R.423.100.

          In Florida,a valid w ritten prescription for a m edicinal drug is one that is issued by a

       health care practitionerlicensed by law to prescribe such drug,is legibly printed ort'
                                                                                            yped so

       asto be capable ofbeing understood by the pharm acistfilling the prescription'
                                                                                    ,and contains

       the nam e of the prescribing practitioner,the nam e and strength ofthe drug prescribed,the

       quantity of the drug prescribed,and the directions for use of the drug. Additionally,the

       written prescription m ustbe dated and signed by the prescribing practitioneron the day when

       issued.Fl.Stat.456.42 (1).

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    286. Thus,the claim ssubm itted by the Defendantsforcompensation to underM edicarePartD

        and Tricare with altered or forged prescriptions were notvalid prescriptions,and were false

        claim sforpaym ent.

    287. This is a claim for treble dam ages,civilpenalties and attorneys' fees under the False

        ClaimsAct,31U.S.C.j3729,etseq.,asamended.

    288. By m eansofthe actsdescribed above from at leastAugustof20l5 through the present,

        Defendants knowingly presented or caused to be presented false and fraudulent M edicare

        PartD, Florida M edicaid,and Tricare claim s for paym ent or approval in violation of the

        FalseClaimsAct,31U.S.C.jj3729(a)(1).

    289. Defendants,by or through theiragents,officers,or em ployees,knowingly presented or

        caused to be presented false and fraudulentM edicare,Florida M edicaid,and Tricare claim s

        forpaymentorapprovalinviolationoftheFalseClaimsAct,31U.S.C.jj3729(a)(l).

           D efendants directed pharm techs and/or office personnel, who w ere not licensed as

        pharm acistsorphysicians,to re-write controlled and non-controlled substancesforwhich the

        re-w ritten prescriptions,and thereby invalid prescriptions,accompanied claim s for paym ent

        to governm enthealthcare program s such as M edicare PartD ,Florida M edicaid,and Tricare,

        which was notan allowable task forthose teclm icianspursuantto state 1aw and rendered the

        claim forpaymentfalse.(Exhibitl).

     291. Defendants directed pharm techs ancl/or office personnel to re-w rite and re-form ulate

        prescriptions from the physicians' originalprescription to use and/or target products with

        high Average W holesale Prices to drive up the cost recovered by requests for paym ent to

        governm ent healthcare program s, specifically Tricare. Specifically, D efendant introduced



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       Bacitracin,which is an antibiotic, into compounds for which the inclusion of Bacitracin

       carriednoindicationofuse,todriveupthecostofprescriptions.(Exhibit4).

    292. The United States,unaware of the falsity of the claim s m ade by the Defendants,and in

       reliance on the m aterialfraudulentor false representationsw ithin the claim s,approved,paid,

       and participated in paym entsforclaim sthatwould otherw ise nothave been allowed orpaid.

    293. By reason ofthese paym ents,the United States has been dam aged,and continues to be

       dam aged,in an am ountyetto be determ ined.

               Count11- Conspiracy to Com mitaViolation under(A),(B),and (G)
                              -   in Violation ofthe FalseC laim sAct,
                                     31U.S.C.kk3729(a)(1)(C)
    294. Relatorre-alleges and incorporatesby reference paragraphs 1 through 274.

    295. This is a claim for treble dam ages,civilpenalties,and attorneys' fees under the False

       ClaimsAct,31U.S.C.j3729,etseq.,asamended.

    296. Atalltim esrelevanthereto,Defendantsacted through theiragentsand em ployeesand the

       acts of D efendants' agents and em ployees were w ithin the scope of their agency and

       employm ent.

    297. By m eans ofthe acts described above,Defendants knowingly conspired to defraud the

       United States by requesting or allowing false or fraudulentclaim s to be paid by the United

       States. Defendants attempted to defraud M edicare, M edicaid, and Tricare by illegally

       subm itting theircompound m edicationsforapprovaloutsidethe statutory guidelines.

    298. The United States,unaw are of the falsity of the claim s m ade by the D efendants,and in

       reliance on the m aterialfraudulentand false representations,approved,paid,and participated

       in paym entsforclaim s thatwould otherwise nothave been allowed orpaid.



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    299. By virtue of the false and fraudulentclaim s m ade by Defendants,the United States has

       been dam aged and continuesto be dam aged in substantialam ounts.

                  CountIIl -Causinz and M akina Falseand FraudulentC laim s,
                   R ecords,and Statem entsto bePresented in Violation ofthe
                            FalseClaimsAct,31U.S.C.Qj3729(a)(2).

    300. Relatorre-allegesand incorporates by reference paragraphs 1through 274.

          This is a claim for treble dam ages, civilpenalties,and attorneys' fees under the False

       ClaimsAct,31U.S.C.j3729,etseq.,asamended.

    302. A talltim esrelevanthereto,Defendantsacted through theiragentsand em ployeesand the

       acts of Defendants' agents and em ployees w ere w ithin the scope of their agency and

       em ploym ent.

          By m eansofthe actsdescribed above and from at leastM arch 2014 through the present,

       Defendantsknow ingly m ade,used,orcaused to be m ade orused,false records orstatem ents

       to getfalse orfraudulentclaim spaid orapproved by the United States.

          The United States,unaw are of the falsity ofthe claim s m ade by the D efendants,and in

       reliance on the m aterialfraudulentorfalse representations,approved,paid,and participated

       in paym entsforclaim sthatwould otherw ise nothave been allow ed.

          By reason ofthese paym ents,the United States has been dam aged,and continues to be

       dam aged,in a substantialam ount.

                  CountIV :D efendants'Violation ofthe A nti-K ickback Statute
                                 Pursuantto 42 U.S.C.k 1320(a).

    306. Relatorrealleges and incorporatesby referenceparagraphs lthrough 274.

    307. Thisisan actionpursuantto42 U.S.C.j l320(a).


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    308. By virtue of the activities described above, D efendants violated the federal Anti-

        K ickback Statute.

    309. Ata11tim esrelevanthereto,Defendants acted through theiragents and employeesand the

        acts of D efendants' agents and em ployees w ere within the scope of their agency and

        employm ent.

    310. Defendantsknowingly and willfully solicited,received,offered and paid rem uneration,in

        return foreither referrals ofM edicare,M edicaid,and Tricare beneficiaries orthe arranging,

        recom m ending, leasing or ordering of any item or service reim bursed by M edicare or

        M edicaid.

           By virtue of this violation,the United States has been dam aged, and continues to be

        damaged,in a substantialam ount.

                     CountV :Defendants'Violation ofthe Stark Law Pursuantto
                                 -    --      -      --     -           --       -


                                           42 U.S.C.91395

            Relatorre-allegesand incorporatesby referenceparagraphs 1 through 274.

     313. Thisisan action pursuantto 42U.S.C.j1395.

     314. By virtue ofthe activitiesdescribed above,Defendantsviolated the Stark Law .

     315. Defendants knowingly and willfully subm itted M edicare claim s, Tricare claim s,

        M edicaid claim s,and another non-governmentalm edical claim s that were the products of

        patient referrals from physicians with whom a governm ent agency had an im penuissible

        financialrelationship.
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     316. Atal1tim esrelevanthereto,Defendantsacted through theiragentsand em ployeesand the

        acts of Defendants' agents and employees w ere within the scope of their agency and

        em ploym ent.

     317. Defendants' com pensation arrangem ents and financialrelationships w ith physicians in

        orderto sellD efendants'compound m edications were illegal.

     318. Defendants falsely subm itted prescriptions thathad notbeen written in order to change

        those prescriptions'formulas.

           By virtue of this violation,the United States has been dam aged, and continues to be

        damaged,in a substantialam ount.


                                        Vlll.   RELIEF

                                   FIRST CAU SE O F ACTIO N
                          (FalseClaimsAct:PresentationofFalseClaims)
                    (3lU.S.C.j3729(a)(1)(claimsfrom andafterApril2015)and
                     31U.S.C.j3729(a)(1)(A)(claimsfrom andafterApril2015)
                                 DefendantHabana HospitalPharm acy
    320. The Relator repeats and realleges the preceding paragraphs l through 274 as iffully set

        forth herein.

           Defendantsknowingly presented and caused to bepresented falseorfraudulentclaim sfor

        paym ent or approval to the United States for compound prescriptions that w ere false or

        fraudulentbecauseeither(a)theserviceswerenotprovidedasbilled,and/or(b)anyservices
        provided were notmedically necessal'
                                           y,and/or(c)the recordswere altered to be acceptable
        and paid by M edicare.




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           Defendantsknow ingly presented and caused to be presented false orfraudulentclaim sfor

       paym ent or approvalto the United States for hom e health care services that were false or

       fraudulentbecause they w ere induced by kickbacks.

          D efendantsknowingly presented and caused to bepresented falseorfraudulentclaim sfor

       paymentorapprovalto the United States by subm itting orcausing to be subm itled claim sfor

       home health care services that w ere ineligible for reim bursem ent under the Stark Law 's

       expressprohibition on M edicare,M edicaid,and Tricare billing and M edicare,M edicaid,and

       Tricare reim bursem ent for services that are the product of referralfrom a physician with

       whom the pharm acy has an illegalfinancialrelationship.

    324. Defendantsknow ingly presented and caused to be presented false orfraudulentclaim s for

       paym entorapprovalto the United Statesby subm itting orcausing to be subm itted claim s for

       certain claim s underM edicare PartD thatwere ineligible for reimbursem entunderthe Stark

       Law'sexpressprohibition on M edicare billing and M edicare reim bursem entforservicesthat

       arethe productofa referralthatistainted by an illegalfinancialrelationship.

          By virtue of the false or fraudulent claim s, the United States suffered dam ages and

       therefore is entitled to treble dam ages under the False Claim s Act,to be determ ined attrial,

       pluscivilpenaltiesofnotlessthan $5,500 andup to$11,000foreach violation.

                                    SECO ND CA USE O F ACTIO N
                    (FalseClaimsAct:FalseStatementsMaterialtoFalseClaims)
                                  (31U.s.c.j3729(a)(1)(B))
    326. The Relatorrepeatsand reallegesthe preceding paragraphs 1 through and including 274

       asiffully setforth herein.

    327. TheRelatorsuesDefendantforviolationsof31U.S.C.j3729(a)(l)(B)



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           Defendant know ingly m ade, used, or caused to be m ade or used false records or

        statem ents materialto false or fraudulentclaim s to getclaim s for hom e health care paid by

        the United States.

    329. D efendant knowingly m ade, used, or caused to be m ade or used false records or

        statem ents m aterialto false or fraudulent claim s w ith respectto hom e health care services

        thatwere ineligible forreim bursem entasa resultofillegalkickbacks.

    330. Defendant knowingly m ade, used, or caused to be m ade or used false records or

        statem entsm aterialto false orfraudulentclaim sand to getfalse or fraudulentclaim spaid by

        the United States w ith respect to claim s for paym ent for prescriptions ineligible for

        reim bursem ent under the Stark Law 's express prohibition on M edicare, M edicaid, and

        Tricare billing and M edicare,M edicaid,and Tricare reim bursementforservices thatare the

        productofunlawfulkickback schem es.

     331. By virtue ofthe false orfraudulent statem entsthatdefendants m ade and/orcaused to be

        m ade,the United States suffered dam ages and therefore is entitled to treble dam ages under

        theFalseClaimsAct,tobedetermined attrial,pluscivilpenaltiesofnotlessthan $5,500and

        up to $1l,000foreachviolation.

                                     TH IRD CAU SE O F AC TION
                    (DefendantHabanaHospitalPharmacy'sUnjustEnrichmentand
                                      ConstructiveTrust)
           The Relators repeat and re-allege the preceding paragraphs 1 through 274 as if fully set

        forth herein.
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            TheRelatorsclaim therecovery ofallmoniesby which Defendantshavebeen unjustly
       enriched,and a constructive trusthas arisen on these amounts for the benefitof the United

       States.

    334. Asa consequenceoftheactssetforthabove,Defendantswere unjustly enriched atthe
       expense of the United States in an am ount to be determ ined at trial, which, under the

       circum stances,in equity and good conscience,should be returned to the United States.

                                  FO URTH CAU SE O F ACTIO N
                    (DefendantHabanaHospitalPharmacy'sReceiptofPaymentby
                                           M istake)
    335. The Relators repeat and re-allege the preceding paragraphs l through 274 as if fully set

       forth herein.

            The Relators claim the recovery of al1m onies M edicare,M edicaid,and Tricare paid to

       Defendantsby m istake.

    337. A s a consequence of the acts set forth above,Defendants were paid by m istake at the

       expense ofthe United Statesin an am ountto be determ ined attrial,which should be returned

       to the United States.

                                   FIFTH CA USE O F A CTION
                    (Retaliation& iscriminationofRelatoragainstDefendantHabana
                     HospitalPharmacy,Pursuantto31U.S.C.j3729andFlorida
                     Statutesj68.081-68.089FloridaW histleblowerProtectionAct
                                        FloridaStatue448.102)
    338. Relatorrealleges and incorporatesby reference paragraphs 1through 274.

    339. Thisisan actionpursuantto31U.S.C.j3729 et.seq.andFloridaStatutesj68.081et.
       5'P(.?.
       ,
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    340. Relatoractionsin bringing the truth aboutthe company'sfraud to hersuperior'sattention

       caused a hostile environm entthatled to constructive discharge.

          By virtue of the activities described above,Relator has engaged in conduct protected

       under the Federal False Claim s Act, the Florida False Claim s Act, and the Florida

       W histleblow erProtection Act.

          Defendantswere aware ofRelator'sactions.


                               lX .      PM YER FO R RELIEF

    WHEREFORE,theRelatordemandsandpraysthatjudgmentbeentered infavoroftheUnited
    StatesagainstDefendantsHabanaas follow s:

         On the FirstCountasto a1lD efendants underthe False Claim s Act,forthe am ountofthe

         United States'dam ages,trebled as required by law,and such civilpenaltiesasare required

         by law ,togetherwith reasonable attorney's feesand costsand allsuch furtherreliefasm ay

         bejustandproper.
         On the Second Countasto allDefendants under the False Claim s A ct,forthe am ountof

         the United States' dam ages, trebled as required by law ,and such civil penalties as are

         required by law ,together w ith reasonable attorney's fees and costs and all such further

         reliefasmaybejustandproper.
    111. On theThird Countasto Defendantsforunjustenrichment,fortheamountsby which
         defendantswereunjustlyenriched,plusinterest,costs,expenses,reasonableattorney'sfees
         andcostsandfora1lsuchfurtherreliefasmaybejustandproper.
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         On the Fourth Countasto Defendants forpaym entby m istake,forthe am ounts the United

         States paid by m istake,plus interest,costs,expenses,reasonable attorney's fees and costs

         andfora1lsuchfurtherreliefasmaybejustandproper.
    V . On the Fifth Count as to Defendants forretaliation/discrim ination againstRelator for the

         amounts by which defendants were unjustly enrichcd,plus interest,costs,expenses,
         reasonable attorney's feesand costs and fora11such furtherreliefasmay bejustand
         Pr0PCr.

                                                      Respectfully Subm itted,




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                                     CER TIFICA TE O F SERVICE

    l HEREBY CERTIFY that a true and correct copy of the foregoing M em orandum of Law
    Pursuantto31U.S.C.j3730(e)(4)(b)and 3730(b)(2)Disclosing MaterialEvidence Supporting
    False Claim s Act Complaint Against H abana HospitalPharm acy,lnc.,has been furnished on
    July l8,2017 on the Service Listbelow.



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